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District Court Case No. 2:18-cv-10188-AG

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT,
SANTA ANA DIVISION
IN RE: STEVEN MARK ROSENBERG,
Debtor.

 

Appellant,

Vs.

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE BANCORP, MORTGAGE BACKED
CERTIFICATE SERIES. 2007-OA1, MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., OCWEN LOAN SERVICING,

LLC,
Appellees.

 

Appeal from the U.S. Bankruptcy Court, Central District of
California, Case No. Case No. 1:17-bk-11748-VK, A.P. Case No.
1:17-ap-01096-vk, Hon. Victoria S. Kaufman,

Hon. Andrew J. Guilford, District Court Judge
APPELLEE’S SUPPLEMENTAL APPENDIX

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Deutsche Bank National Trust Company, As Trustee for Alliance
Bancorp Mortgage Backed Certificate Series 2007-OA1

 
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Trustee for Alliance Bancorp Mortgage Backed Pass-Through
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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: STEVEN MARK ROSENBERG, | Bankruptey Case No. 1:17-bk-11748-VK

 

Debtor. Chapter 7
Adversary Case No. 1:17-ap-01096-VK
STEVEN MARK ROSENBERG,
DEFENDANTS’ REPLY BRIEF IN
Plaintiff, SUPPORT OF MOTION FOR
Vv. JUDGMENT ON THE PLEADINGS

ALLIANCE BANCORP, INC (Estate), | Hearing:
MORTGAGE ELECTRONIC Date: April 4, 2018
REGISTRATION SYSTEMS, INC.,' | Time: 2:30 p.m.
OCWEN LOAN SERVICING, ONE =[Crtrm: 301

WEST BANK, DEUTSCHE BANK.
NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-CA1 AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

DEFENDANTS? REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE
PLEADINGS

 

 

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I. REPLY ARGUMENT

—

 

 

7 A. All of Plaintiff's Fraud-based Claims, including those for Forgery,

3 Cancellation or Rescission, are-all time barred by law-and lack the

4 requisite specificity.

7 By his own Opposition, Plaintiff actually admits that before he filed his

6 || Probate Petition on August 27, 2009, he believed the Deed of Trust was forged.

7 \| (Opposition, page 8, lines 12-22; page 10, lines 5-8). Again by his own admission,

8 |\ he dismissed that petition no later than January 19, 2017. (Opposition, page 9,

9 \\ lines 5-6.) He filed this adversary proceeding on November 27, 2017.
10 Plaintiff makes the erroneous (and legally unsupported) argument that this
11 || new adversary proceeding “can be considered a continuation” of the prior lawsuit.

(Opposition, page 9, lines 14-15). Not so under the law. Pursuant to the rule of

at”
S

= 13 |! discovery, a plaintiffs fraud based claims asserted in a complaint begin to accrue
on the date plaintiff first knew or should have known of the alleged harm. Jolly v.
Eli Lilly and Co., (1988) 44 Cal.3d 1103, 1100. See also, 6 Witkin, Summary of

16 || California Law, section 1280 (Supp. 2013). Here, Plaintiff admits he knew of his

 

17 |! s-aud based claims before, but certainly no later than, August 27, 2009. Thus, as
18 || shown by the Motion for Judgment on the Pleadings, any and all of the applicable

19 || statute of limitations to all of Plaintiff's fraud based claims expired at least five

20 || years before he filed this case.
21 Notwithstanding this bar, none of the claims meet the requisite specificity

22 || standards, as shown by the Motion for Judgment on the Pleadings. (Motion, page

23 141, lines 14-25.)

B. Plaintiff Does Not Have Standing to Challenge either the Assignments:

or Securitzation.

26 It is beyond dispute that this is a preforeclosure action, and the California

27 || Supreme Court and Courts of Appeal have repeatedly held that California’s non-

28 || judicial foreclosure statutes do not all a defaulting borrower (or in this case the

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DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE

PLEADINGS

 

 

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borrower’s claimed heir) to challenge whether the person or entity initiating
foreclosure was duly authorized to do so. This rule applies to claims alleging
improper assignments of deeds of trust. See, Yvanova. New Century Mortgage
Corp., (2016) 62 Cal.4th 919; Kan v. Guild Morigage Co. (2014) 230 Cal.App.4th
736, 743-745; Jenkins v. JP Morgan Chase Bank, N.A., (2013) 216 Cal.App.4th
497, 515; Gomes v. Countrywide Home Loans, Inc., (2011) 192 Cal.App.4th at
1152: Saterback v. JP Morgan Chase Bank, N.A., (2016) 245 Cal.App.4th 808.
Here, Plaintiff's reliance in his Opposition (pages 15- 16) upon
Yvanova is misplaced. In Yvanova, the California Supreme Court expressly limited
its holding of a borrower’s standing (or in this case, Plaintiff as the claimed heir to
borrower’s property) to assert a claim based upon improper securitization of a loan
to post-foreclosure actions. Jd. (Emphasis added.) Indeed, the Yvanova Court
specifically discussed the pre-foreclosure case of Kan v. Guild Morigage Co. and

declined to disapprove it in any way, observing:

The Kan court distinguished Glaski as involving a postsale wrongful
foreclosure claim, as opposed to the preemptive suits involved in Jenkins
and Kan itself. (Kan, at pp. 743-744.) On standing, the Kan court noted
the federal criticism of Glaski and our grant of review in the present case,
but found “no reason to wade into the issue of whether Glaski was
correctly decided, because the opinion has no direct applicability to
this preforeclosure action.” (Kan, at p. 745.)

Yvanova, supra, citing to Kan v. Guild Mortgage Co. (2014) 230 Cal.App.4th 736,
743-745.

Thus, the Yvanova Court recognized the fundamental distinction between

| Kan involving the status of the foreclosure. In fact, the Court in Yvanova stressed

that its opinion “[does] not hold or suggest that a borrower may attempt to
preempt a threatened nonjudicial foreclosure by a suit questioning the foreclosing

party’s right to proceed.” Yvanova, supra.

 

DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE |
PLEADINGS

 

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Subsequently, in post-Yvanova cases such as Saterbak v. JPMorgan Chase

2 || Bank, N.A., (2016) 245 Cal.App. 4th 808, the Courts of Appeal in California have
3 ||repeatedly held that a borrower lacks standing in a pre-foreclosure action to
4 ||challenge the sale and the recorded non-judicial foreclosure documents:
5
Arguing the assignment occurred after the closing date for the 2007-AR7
6 trust, and that the signature on the instrument was forged or robo-signed,
7 she seeks to cancel the assignment and obtain declaratory relief. We
g conclude Saterbak lacks standing and affirm the judgment.”
2 Saterback, supra. See also, Yhudai v. IMPAC Funding Corp. (2016) 1 Cal.
10 App. 5th 1252; Mendoza v. JPMorgan Chase Bank, N.A., No, C071882, 2016 Cal.
:_ 11 |LApp. LEXIS 1083 (Ct. App. Dec. 13, 2016).
= 12 In any event, Plaintiffs arguments in the Opposition (pages 16-19) to the

Assignments of the Deed of Trust fail. In Yhudai v. IMPAC Funding Corp., supra,

   

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the Court of Appeal considered the implications of Yvanova and held that a
borrower’s argument that an assignment of deed was void because it occurred after
the trust’s closing date in violation of the Pooling and Servicing Agreement
(“PSA”) failed. In reaching its holding, the Yhudai court analyzed void versus

18 || yoidable assignments, and which party, if any, has standing to raise the issue in the

19 || first place. Specifically, the Yaudai court reasoned as follows:

20

1 “California law,” the Yvanova court explained, “does not give a party
personal standing to assert rights or interests belonging solely to others.

22 | When an assignment is merely voidable, the power to ratify or avoid the

23 transaction lies solely with the parties to the assignment; the transaction is
not void unless and until one of the parties takes steps to make it so. A

ae borrower who challenges a foreclosure on the ground that an assignment

25 to the foreclosing party bore defects rendering it voidable could thus be

mG said to assert an interest belonging solely to the parties to the assignment
rather than to herself.” (Yvanova, supra, 62 Cal.4th at p. 936; see also

27 Glaski v. Bank of America (2013) 218 Cal.App.4th 1079, 1094-1095.

28 Yhudai is such a borrower.

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DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE |
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1 The Yhudai holding stands for the proposition that even if'a transaction is
2 || defective, the transaction is not void unless one of the parties to the transaction,
3 || such as the beneficiary or trustee, takes steps to make it so. Otherwise, a stranger to
4 ||the trust, such as a borrower, simply seeking to avoid foreclosure, would have
5 || standing to assert that the unauthorized transaction is void, thereby giving “the
6 || stranger ... the power to interfere with the beneficiaries' right of ratification,”
7 || which would thus conflict directly with the beneficiaries’ rights under the trust.
8 || Yhudai citing Rajamin v. Deutsche Bank National Trust Co. (2d Cir. 2014) 757
9 ||F.3d 79, 90. In sum, Plaintiff lacks standing to challenge the Assignments of the
10 || Deed of Trust.
ae " C. Even if Plaintiff Has Standing to-Challenge the Assignments, the
zu 12 Assignments Have Not Prejudiced Plaintiff, as they Merely Substituted
== 13 One Lender for Another.
SSE Zig
= Te Even if Plaintiff could somehow overcome the above hurdles, all of his
S 7 . challenges to the Assignments still fail because he cannot show any prejudice as a
= - result of any alleged lack of authority of the parties participating in the foreclosure
13 process. A similar scenario was addressed in Siliga y. Mortgage Elec. Registration
19 Sys., Ine., 219 Cal. App. 4th 75 as follows: “ The assignment of the deed of trust
50 and the note did not change the Siligas' obligations under the note... Absent any
1 prejudice, the Siligas have no standing to complain about any alleged lack of
00 authority or defective assignment. Herrera v. Federal National Mortgage Assn.
7 205 Cal. App. 4th 1495, at pp. 1507-1508, 141 Cal.Rptr.3d 326; Fontenot, 198
24 Cal.App.4th at p. 272, 129 Cal.Rptr.3d 467. In Fontenot v, Wells Fargo the
5 California Court of Appeal noted that a plaintiff is required to demonstrate that the
7 alleged imperfection in the foreclosure process was prejudicial to the plaintiff's
07 interests. Here, Plaintiff simply has not been prejudiced by the Assignments of the
Deed of Trust.
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DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE
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D. The Motion for Judgment on the Pleadings Does Not Give Rise to
Estoppel.

le Defendants do not admit the allegations of the pleadings by the
Motion for Judgment on the Pleadings.

As with a demurrer, a motion for judgment on the pleadings assumes the
allegations of the pleading to be true. McCarthy v. Mayo, (9"" Cir. 1987) 827 F.2d
1310, 1316. This does not mean that the moving party has made any admission as
to the veracity of the allegations. What it means is that for purposes of the motion,
even assuming the allegations are true, the non-moving party has no case.
Estoppel simply does not apply here and Plaintiffs argument is nonsensical.

2. The Motion for J udement on the Pleadings Does Not Concern Itself

with or Require'a Denial of the Pleadings’ Allegations.

Federal Rule of Civil Procedure 12 sets out the procedure for attacking a
complaint. One method is by filing a motion for judgment on the pleadings.
FRCP 12(c). A party filing such a motion if not required to deny the allegations of
the Complaint (just as the party does not make any admissions by the motion.)

Again, Plaintiff's argument is not based upon law and is nonsensical.

E. The Discovery Process.is Irrelevant to Ruling on a Motion for Judgment

on the Pleadings.
Plaintiff's argument that he has begun the discovery process is also a red

herring. Federal Rule of Civil Procedure 12(c) sets out the timing of a Motion for

| Judgment on the Pleadings as a means of presenting defenses to the claims of a

complaint. It does not deal with, address or require discovery to be started or

completed before it can be filed.

F.  Plaintiff’s Argument Concerning the 341(a) Hearing is Erroneous.
Plaintiff's argument as to his 341(a) hearing is yet another red herring. First,

although the 341(a) hearing was continued several times, Plaintiff in fact appeared

at the 341(a) hearing held on August 2, 2017. (Dkt No. 11). Thereafter, on

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“DEFENDANTS REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE
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October 10, 2017, Plaintiff received his discharge. (Dkt No. 21). It was not until
November 27, 2017 that Plaintiff filed this adversary complaint. Indeed, on
January 5, 2018, the Trustee issued her no asset report and the bankruptcy case has
now been closed. (Dkt No. 32). As such, there are no issues involving the

bankruptcy estate, nor are there any issues to be determined under bankruptcy law.

G. There Is No “Reasonable Possibility” That Plaintiff Can Cure the
Defects in the Complaint and Thus This Motion Should be Granted

with Prejudice.

Leave to amend is proper only when there is a “reasonable possibility” that
the plaintiff can cure the defects of the complaint. The burden is on plaintiff to
show “in what manner he can amend his complaint and how that amendment will
change the legal effect of his pleading.” Jocer Enterprises, Inc. vs. Price (2010),
183 Cal.App.4th 559, 572; See also, McMartin v. Children's Institute International
(1989) 212 Cal.App.3d 1393, 1408, 261 Cal.Rptr. 437. Plaintiff does not and
cannot demonstrate how he can possibly amend the complaint to assert a valid
claim, as all of Plaintiff's theories of liability are universally rejected under the
law.

Il. CONCLUSION

For all of the reasons set forth above, Defendants respectfully request that
their Motion for Judgment on the Pleadings be granted with prejudice, as it is clear
that no good faith amendment could possibly cure the fatal defects.

Respectfully submitted,

WRIGHT, FINLAY & ZAK, LLP
Dated: March 28, 2018 By: /s/ Nicole.S. Dunn

T. Robert Finlay, Esq.

Nicole S. Dunn, Esq.

Attorneys for Defendants, Ocwen Loan

Servicing, LILC and Mortgage Electronic

Registration Systems, Inc.

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DEFENDANTS” REPLY BRIEF IN SUPPORT OF MOTION FOR JUDGMENT ON THE
PLEADINGS

 

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PROOF OF SERVICE

—

I, Gretchen Grant, declare as follows:

Iam employed in the County of Orange, State of California. J am over the age of
eighteen (18) and not a party to the within action. My business address is 4665
MacArthur Court, Suite 200, Newport Beach, California 92660. I.am readily familiar
with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence is
deposited with the United States Postal Service the same day in the ordinary course of
business. 1 am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for
mailing in affidavit.

On March 28, 2018, I served the within DEFENDANTS’ REPLY BRIEF IN
SUPPORT OF MOTION FOR JUDGMENT ON THE PLEADINGS on all

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10 | interested parties in this action as follows:
1] .
[X] by placing []] the original [X] a true copy thereof enclosed in sealed envelope(s)

12 addressed as follows:

13 [SEE ATTACHED SERVICE LIST]

14 VEX] (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this

15 date following ordinary business practices.

i6 |IL ] (BY FEDERAL EXPRESS OVERNIGHT- NEXT DAY DELIVERY) | placed true

a and correct copies thereof enclosed in a package designated by Federal Express
Overnight with the delivery fees provided for.

18 11[K]_ (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to the

19 office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set

a forth above pursuant to Fed.R.Civ.P.5 (b)(2)(E). “A Notice of Electronic Filing
(NEF) is generated automatically by the ECF system upon completion of an

21 electronic filing. The NEF, when e-mailed to the e-mail address of record in the

PA case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
copy of the NEF shall be attached to any document served in the traditional manner

23 upon any party appearing pro se.”

24 |\|[X] (Federal) I declare under penalty of perjury under the laws of the United States of

95 America that the foregoing is true and correct.

7 Executed on March 28, 2018, at Newport Beach, California.

” RNR Ga
Gretchen Grant

28

1
PROOF OF SERVICE _

 

 

 

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(San Fernando Valley)

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Woodland Hills, CA 91367-6603

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A PROFESSIONAL CORPORATION

GARRETT & TULLY

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| National

‘Alliance: Bancorp: Mortgage Backed Pass-
Through Certificate Series 2007-OA1l

“Trust Company, as Trustee for

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

Inre

| STEVEN MARK. ROSENBERG,

Debtor.

STEVEN MARK ROSENBERG,
Plaintiff,
Vs.

ALLIANCE BANCORP, INC (Estate),
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC,
OCWEN LOAN SERVICING, ONE
WEST BANK, DEUTSCHE BANIC
NATIONAL TRUST COMPANY, AS
TRUSTEE. FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OA1 AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

Case No. |:17-bk-11748-VIK
Chapter 7
Adv No. 1:1 7-ap-01096-VIC

JOUNDER OF DEFENDANT
DEUTSCHE BANK NATIONAL
TRUST COMPANY, AS TRUSTEE
FOR ALLIANCE BANCORP
MORTGAGE BACKED PASS-
THROUGH CERTIFICATE SERIES
2007-OA1 IN REPLY BRIEF IN
SUPPORT OF MOTION FOR
JUDGMENT ON THE PLEADINGS
BY DEFENDANTS OCWEN LOAN
SERVICING,LLC AND _
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.

Date: April 4, 2018
Time: 2330 p.m,
Crtrm: 301

Case No. bb 7-ap-0 1096-VK

 

“FGINDER DY DEUTSCIIE BANK NATIONAL TRUST COMPANY

IN REPLY DRIEP BY DEFENDANTS OC WEN AND MERS.

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A PROFESSIONAL CORPORATION

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Defendant Deutsche Bank National Trust Company, as Trustee for Alliance
Bancorp Mortgage Backed Pass-Through Certificate Series 2007-OA1 (“Deutsche
Bank”) hereby joins in the reply brief filed by defendants Ocwen Loan Servicing,
LLC (‘Ocwen’”) and Mortgage Electronic Registration Systems, Inc. (“MERS”) on
March 28, 2018 in support of their Motion for Judgment on the Pleadings (the
“Motion”), and each of the arguments and authorities found therein. (See, Dkt. No.
32.) Deutsche Bank also joined the Motion.’ (Dkt. No. 26.) Deutsche Bank moves for
judgment on the pleadings in its favor for all the reasons stated in the reply brief and
in the Motion.” (Dkt. No. 26.)

Ocwen and MERS’s reply brief, as did the Motion, correctly sets forth the
applicable law and arguments. The law cited and arguments made by Ocwen and
MERS are fully applicable to Deutsche Bank and demonstrate that judgment should
be entered on the pleadings in favor of Deutsche Bank as well, without further leave
to amend given to plaintiff and debtor Steven Mark Rosenberg (“Rosenberg”).
Accordingly, Deutsche Bank incorporates the reply brief filed by Ocwen and MERS
in its entirety herein by reference.

By way of this adversary proceeding, Rosenberg seeks damages and
declaratory relief in connection with the deed of trust, recorded on March 15, 2007 as
instrument number 2007-0575007, (“March 2007 DOT”) and securing a $390,000
promissory note on a $390,000 loan made to Rosenberg’s father (the ““Loan”).’ (Dkt.
1, Complaint, p. 9.) Deutsche Bank is the current beneficiary of the loan secured by

the March 2007 DOT.

 

1 Rosenberg has not opposed Deutsche Bank’s joinder in the Motion.

||? Since this is not a core matter under 28 U.S.C. § 157, Deutsche Bank does not consent to the

entry of final orders or judgments by the bankruptcy judge. (See, Fed. R. Bankr. P. 7012(b).)
3} There is no dispute by Rosenberg that the Loan was in fact funded. The Loan was used by
Rosenberg’s father to pay off an existing mortgage in the amount of $361,288.97, $26,821.84 in
credit card debt, $385.93 in unpaid property taxes, and $711.00 in fire insurance premiums.

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~ JOINDER BY DEUTSCHE BANK NATIONAL TRUST COMPANY
IN REPLY BRIEF BY DEFENDANTS OCWEN AND MERS

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Rosenberp’s allegations against Deutsche Bank are identical to the allegations
Rosenberg has-asserted against Ocwen and MERS. As with his allegations against
Ocwen and MERS, Rosenberg’s allegations against Deuitsche Bank arise from the
March 2007 DOT and arise fiom the same conduct Rosenberg attributes to Ocwert
and-MERS.

LEGAL ARGUMENT
A. -ALL-OF ROSENBERG’S FRAUD. BASED: CLAIMS ARE, ALL TIME

BARRED.AS A.MATTER OF LAW.

As argued by-Ocwen and MERS in their reply: brief-and in the Motion, and
incorporated herein by reference, Rosenberg’s fraud-based:claims against Ocwen‘and |
MERS, as well.as Deutsche Bank, including those based on forgery; cancellationand
rescission are time barred as\a. matter of law. (Reply Bried, p..2,)

As correctly argued, by Qcwen and MERS in their reply brief, pursuant tothe:
rule of discovery, a plaintiff's fraud based claims begin to accrue on the date plaintiff
first knew or should have known of the alleged harm, (Jolly v. Eli Lilly and Co., 44
Cal.3d 1103, 1100 (1988); See also, 6 Witkin, Seenmary. of California Law, section
1280 (Supp. 2013).) Rosenberg, admits in his opposition brief that he believed the
‘March 2007 DOT was forged. before he filed his Probate Petition on-August 27, 2009,

|| moresthan: cigit (8) years. before filing this adversary: proceeding. (Opposition, page |

8, lines 12-22; page 10; lines. 5-8.) By Rosenberg's own admissions, any and all

applicable statute.of limitations to.cach of his fraud-based claims expired at least five

lpears before he filed this adversary proceeding.

Rosenberg argues that this advéisary proceeding brought under various
provisions of the bankruptcy code “can be Gonsidéered.a continuation” of the Probate:
Petition, This is-simply not uve and not consistent with the law. Moreover, to the
extent Rosenberg is implying, the application of “equitable tolling,” courts. have
specifically rejected equitable tolling under these circumstances, where plaintiff fled
and voluntarily dismissed a first lawsuit, and then filed a second lawsuit sometime

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— re JOINDER BY DEUTSCHE BANK NATIONAL TRUST COMPANY
IN REPLY BRIEF BY DEFENDANTS OCWEN AND MERS

 

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thereafter. (See, Thomas v. Gilliland, 95 Cal. App.4" 427, 430-436 (2002).) Rosenberg
filed his petition on August 27, 2009, by his own admission, voluntarily dismissed it
in 2015 and then refiled this adversary procéeding on November 27, 2017. (See,
Opposition, p. 8, lines 16-28; p. 9, lines 1-7.) This adversary proceeding, is not a
continuation: of the probate petition filed on August 7, 2009 by Rosenberg, nor is
Rosenberg entitled to equitable tolling under the circumstances, Accordingly, as
correctly argued by Ocwen and MERS, Rosenberg’s fraud based claims against
Ocwen and MERS, as well as Deutsche Bank, are time barred as a matter of law.

B. ALL OF ROSENBERG’S FRAUD BASED CLAIMS LACK THE

“REQUIRED SPECIFICITY.

As argued by Ocwen and MERS in their reply brief and in the Motion, and
incorporated herein by reference, Rosenberg’s fraud-based claims against Ocwen and
MERS, as well as Deutsche Bank, including those based on forgery, cancellation and
rescission lack the required specificity. (Reply Brief, p. 2.)

Fraud based claims require that allegations be pleaded with specificity. (See,
FRCP Rule 9(b); In re Actimmune Marketing Litigation, 2009 WL 3740648, *6 and
*9.) To satisfy Rule 9(b), plaintiffs must explicitly aver “the who, what, when, where,
and how” of the alleged fraudulent conduct. ({bid.; Cooper v. Pickett, 137 F.3d 616,
627 (9th Cir.1997); see also, Lazar v. Superior Court, 12 Cal.4" 631, 645 (1996).) In
a fraud claim against a corporation like Deutsche Bank, a plaintiff must allege the
names of the persons who made the misrepresentation, their authority to speak for the
corporation, to whom they spoke, what they said or wrote, and when it was said or
written. (/d. at 645.)

Indeed asa matter of law each ‘element of the cause of action for fraud must be
alleged inthe proper manner, factually and specifically. (Quelimane co, v. Stewart
Title Guar. Co., 19 Cal. 4th 26, 47-48 (1998); Goldrich v. Natural Y Surgical
Specialities, Inc., 25 Cal.App.4th 772, 782-783 (1994).) Here, ds correctly argued by.

Ocwen and MERS, Rosenberg falls well short of meeting that requirement.
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JOINDER BY DEUTSCHE BANK NATIONAL TRUST COMPANY
IN REPLY BRIEF BY DEFENDANTS OC WEN AND MERS

 

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C. ROSENBERG DOES NOT HAVE STANDING TO CHALLENGE
FITHER THE ASSIGNMENTS OR THE SECURITIZATION.

As argued by Ocwen and MERS in their reply brief and in the Motion, and
incorporated herein by reference, Rosenberg lacks the standing to challenge the
assignments of the March 2007 DOT as apainst Ocwen, MERS or Deutsche Bank. —
(Reply Brief, p. 2-5.)

D. ROSENBERG ARGUMENTS REGARDING ESTOPPEL, THE
DISCOVERY PROCESS AND THE NEED FOR A 341 HEARING ARE
COMPLETELY WITHOUT MERIT AND FRIVOLOUS.

As argued by Ocwen and MERS in their reply brief, Rosenberg’s arguments
regarding estoppel, the discovery process and the requirement for a 34] hearing are
ridiculous and absolutely without merit. (Reply Brief, p. 6-7.)

EK. AMENDMENT IS FUTILE IN THAT ROSENBERG CANNOT
CURE THE DEFECTS OF HIS COMPLAINT.

As argued by Ocwen and MERS in their reply brief and in the Motion, and
incorporated herein by reference, Rosenberg has not and cannot demonstrate how he
can possibly amend the adversary proceeding complaint to assert a valid and timely
claim against any of the defendants, including Deutsche Bank. (Reply Brief, p. 7.)
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F. CONCLUSION.

For the reasons stated above, and for all the reasons stated in Ocwen and

MERS’ reply brief and motion for judgment on the pleadings, Deutsche Bank

respectfully requests that this Court grant Ocwen and MERS’ motion for judgment on

the pleadings, and dismiss Rosenberg’s corzplaint, and each of its asserted claims for

relief, with prejudice as to Ocwen, MERS, and Deutsche Bank.

DATED: March 29, 2018 GARRETT & TULLY, P.C:
Robert Garrett
Tomas A. Ortiz

‘si Tomas A. Ortiz
TOMAS A. ORTIZ
Attorneys for Defendant Deutsche Bank National Trust
Company, as Trustee for Alliance Bancorp Mortgage
Backed Pass-Through Certificate Series 2007-OA1

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
225 S. Lake Avenue, Suite 1400 Pasadena, CA 91101

A true and correct copy of the foregoing document entitled (specify): JOINDER OF DEFENDANT DEUTSCHE
BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR ALLIANGE BANCORP MORTGAGE
BACKED PASS-THROUGH CERTIFICATE SERIES 2007-OA1 IN REPLY BRIEF IN SUPPORT OF
MOTION FOR JUDGMENT ON THE PLEADINGS BY DEFENDANTS OCWEN LOAN SERVICING,
LLC AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE-COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
3/29/18, | checked the CM/EGF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Amy L. Goldman (TR) marisol,jaramillo@lewisbribois.com; AGoldman@ig7technology.com;
ustpregion16.wh.ecf@usdoj.gov; Marvin Adviento, Lukasz |, Wozniak, Def, Alllance Bancorp, Inc, Deutsche Bank Natl.
Trust Co. as Trustee for Alliance Bancorp Mortgage Backed Pass-Through Certificate Series 2007-OA01, Mortgage
Electronic Registration Systems; Ocwen LLC; madivento@wrightlegal.net; mjohnson@wrightlegal.net;
Lwozniak@wrightlegal.net

2. SERVED BY UNITED STATES MAIL:

On (date) 3/29/48, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed: no later than 24 hours after the document is filed.

   

Steven Mark Rosenberg U.S. Trustee (SV)

106-1/2 Judge John Aiso St., #225 915 Wilshire Blvd, Ste 1850

Los Angeles, CA 90012 Los Angeles, CA 90017

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method

foreach person of entity served): Pursuant to F.R-Civ.P. 5 and/or controlling LBR, on (date) 3/29/18, | ‘served the

following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed.

VIA FEDERAL EXPRESS
The Honorable Victoria S, Kaufman

United States Bankruptcy Court - Central District of California
21041 Burbank Blvd, Suite 354 / Caurtroom 301
Woadland Hills, CA 91367

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

3/29/18 Ss Delorise Cameron /s/ Delorise Cameron.

Date Printed Name Signature

 

This form is mandatory. It has been approved for use by the United Slates Bankrupley Court for the Ganiral District of California.

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United States Bankruptcy Court
Central District of California
San Fornande Valley .,

Judge Victoria Kaufman, Presiding
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Wednesday, May 2, 2018 Hearing Room 301
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1:17-11748 Steven Mark Rosenberg Chapter 7

Advi: 1:17-01096 Rosenberg v, Deutsche Bank National Trust Company, As Trustee F

#17,00 Defendant's motion for judgment on the pleadings
fr. 4/4/18: 4/18/18

Docket 16

Judge:
I. BACKGROUND

On June 30, 2017, Steven Mark Rosenberg ("Plaintiff") filed his voluntary chapter 7
petition. On October 10, 2017, Plaintiff received his chapter 7 discharge [1:17-
bk-11748-VK, doc, 21], On November 27, 2017, Debtor filed an adversary complaint
("Complaint") against Deutsche Bank National Trust Company ("Deutsche Bank"),
Ocwen Loan Servicing, Inc. ("Ocwen"), Alliance Bancorp, Inc. (“Alliance”), Alliance
Bancorp Estate Trustee Charles A, Stanziale, Jr, MERS Mortgage Electronic
Registration Systems, Inc. ("MERS"), One West Bank ("One West"), and Does 1-25.

The Complaint alleges causes of action for violation of 11 U.S.C. § 524(a), vialation
of Federal Rute of Bankruptcy Procedure ("FRBP") 3001 (c)(2)(B) and (C), fraudulent
concealment, violation of 18 U.S.C, § 157 and declaratory relief, and demands a jury
trial. The Complaint bases these claims on the following facts:

Plaintiff is the sole beneficiary of the Isadore and Norma P. Rosenberg Trust,
and a personal representative of the Estate of Isadore Rosenberg, who passed

away in 2008. Complaint, { 8.

On March 15, 2007 an alleged deed of trust (the "DOT") securing a $390,000
promissory note was recorded against real property owned by Isadore
Rosenberg located at 15814 Septo Street, North Hills, CA 91343 (the
"Pyoperty"). The DOT was recorded for the benefit of Ampro Mortgage, a
division of United Financial Mortgage Corporation ("“Ampro"), the
predecessor to Alliance as the lender, and MERS as nominee for the lender.
Isadore was feeble with macular degeneration at the time and could not have

signed the documents, Complaint, ] 9.

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On April 16, 2008, Ampro assigned the DOT to IndyMac Bank, FSB
("IndyMac") via MERS, but that assignment was not acknowledged until
August 2008 (doc, 1, Exh. 1]. Ampro filed a chapter 7 bankruptcy petition and
was dissolved on February 1, 2008, By the time of the purported assignment,
Ampro had been dissolved.

Also on April 16, 2008, IndyMac transferred the DOT to Deutsche Bank as
trustee for Alliance 2007-OA 1, but was not acknowledged unti] December 29,
2009 [doc, 1, Bxh 2], A third "correction of assignment" was recorded on
March 17, 2017, Complaint, ]] 30.

The Pooling and Service Agreement regarding the DOT (the "PSA") provided
that the depositor, master servicer, trustee or the securities administrator were
not authorized to accept contributions to the real estate mortgage investment
conduits after the closing date on May 30, 2007. The appropriate processing
for the Property was never properly transferred to Alliance Bancorp 2007
OAs| per the requirements of the PSA prospectus. Consequently, Defendants
have never had proper title to the property. Complaint J 16, 27-31, 36-38.

The DOT and accompanying documents (¢.g., the grant deed and adjustable
rate rider) bears a signature forged by Isadore Rosenberg’s former caregiver,
David Curtis Harder. The Complaint includes a Forensic Handwriting Expert

Summary Report [doc. 1, Exh. 4],

On August 29, 2009, Plaintiff filed an action via the probate proceedings for
Isadore Rosenberg’s estate, seeking to determine title to the Property and
asserting that the DOT was a forgery (the "Probate Action"), Complaint, J
13-14. Plaintiff filed a request to voluntarily dismiss the Probate Action in
January 2015, and the probate court granted the request with prejudice.
Plaintiff appealed, and the appellate court reversed the order of dismissal,
ordering the petition be dismissed without prejudice, The Probate Action was
dismissed without prejudice on January 19, 2017, Complaint, 20.

Since 2008, One West and Deutsche Bank have initiated a number of
wrongful foreclosure proceedings against Plaintiff. One West and Deutsche
Bank do not have rights to foreclosure based on legitimate documentation,

 

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because Alliance never had a proper loan. Based on this, under the California
Homeowner's Bill of Rights, Plaintiff seeks redress of material violations of

the foreclosure process.

None of the entities listed as Defendants in this adversary proceeding filed a
proof of claim in the main bankruptcy case. At the time the adversary
complaint was filed, a nonjudicial foreclosure of the Property was scheduled

for November 28, 2017.

On January 23, 2018, Plaintiff voluntarily dismissed the Complaint with respect to
Defendants CIT Bank (f.k.a. One West Bank, erroneously sued as One West Bank)
and Alliance Bancorp [doc. 13]. That dismissal left Deutsche Bank, MERS and
Ocwen ("Defendants") as the only remaining parties to this action,

On February 13, 2018, Ocwen and MERS (together, "Movants") filed a motion for
judgement on the pleadings (the "Motion") [doc. 16]. The Motion was accompanied
by a request for judicial notice in support of the Motion (the "RJN") [doc. 17].
Movants argue that the allegations in the Complaint regarding forgery, fraud and
rescission are time barred, and that the challenge to the foreclosure based on the
alleged broken chain of title fails because Plaintiff has no standing. Movants also
atgue that the matter in the complaint is non-core and they wil] not consent to final

judgment.

On March 9, 2018, Deutsche Bank, the current beneficiary of the loan secured by the
DOT, filed a joinder in the Motion and the RJN (the "Joinder") [doc, 24], Because the
allegations against Deutsche Bank are identical to the allegations against Movants,
Deutsche Bank joins in each and every argument and authority in the Motion.
Deutsche Bank also states that it does not consent to the entry of final orders or
judgments in this case because it is a non-core matter.

On March 21, 2018, Plaintiff filed an opposition to the Motion (the "Opposition").
The Opposition asserts, among other things that: (1) Plaintiff filed this adversary
proceeding in 2017, as a continuation of litigation that was commenced in 2009; (2)
that he has standing to challenge the assignments under California law; (3) that the
Mation gives rise to estoppel, and Movants have impliedly admitted all the
allegations in the Complaint are true; (4) the bankruptcy case has not been properly
discharged because there was no proper 11 U.S.C, § 341(a) mecting; and (4) a Rule

 

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12(c) motion is not appropriate because Plaintiff has initiated the discovery process
by having an initial conference pursuant to Federal Rule of Civil Procedure 26.

On March 28, 2018, Defendants filed a reply to the Opposition (the "Reply") [doc.
32]. In the Reply, Movants request that the Motion be granted with prejudice (without

leave to amend).
I, DISCUSSION

A. Jurisdiction

Movants argue that the claims asserted in the Complaint will have no effect on
Plaintiff's discharge in this ease, and there are no issues to be determined under
bankruptcy law. However, Movants do not cite any authority to support the blanket
statement that a bankruptcy court does not have jurisdiction to hear matters which do

not affect the discharge in a case.

Mavants also argue that even if Plaintiff prevailed, the estate would remain insolvent.
However, Plaintiff's Schedule D [doc. |, p. 20] reflects that Ocwen (as servicer for
Deutsche Bank) is the only creditor with a claim secured by the Property. If that lien
were entirely voided, the Trustee could sell the Property, and the nonexempt equity
could leave the estate with funds to pay creditors,

Finally, Movants and Deutsche Bank assert that they do not consent to the entry of
final orders or judgments by this Court, This does not deprive the Court of
jurisdiction; the Court can issue findings of fact and conclusions of law regarding
rion-core matters for approval by the district court. In addition, some of the causes of
action in the complaint are based on bankruptcy rules or statutes. The Court may enter
final judgment regarding core matters without the parties! consent. 28 U.S.C, § 157(b)
(1) ("Bankruptcy judges may hear and determine all cases under title 1] and all core
proceedings arising under title 11, or arising in a case under title 11... and may enter

appropriate orders and judgments....").
B. Standard for Judgment on the Pleadings

Federal Rute of Civil Procedure ("Rule") 12(c), applicable through FRBP 7012,
provides that "[a]fter the pleadings are closed--but early enough not to delay trial--a

 

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party may move for judgment on the pleadings." In deciding a Rule 12(c) mation, the
court applies the same standards applicable to a Rule 12(b)(6) motion. See Cafasso,
U.S. ex rel, v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1054, fn. 4 (9th
Cir, 2011) ("Rule 12(c) is ‘functionally identical’ to Rule 12(b)(6)”).

In resolving a Rule 12(c) motion, the court can consider (without converting the
motion to a summary judgment): (a) the complaint and answer; (b) any documents
attached to or mentioned in the pleadings; (c) documents not attached but "integral" to
the claims; and (d) matters subject to judicial notice. L-7 Designs, Inc. v. Old Navy,
LLC, 647 F.3d 419, 422 (2nd Cir. 2011); Massey v. Ojaniit, 759 F.3d 343, 347-348
(4th Cir. 2014).

However, under Rule 12(d), if, "on a motion under Rule {2(b)(6) or 12(c), matters
outside the pleadings are presented to and not excluded by the court, the motion nwust
be treated as one for summary judgment under Rule 56, All parties must be given a
reasonable opportunity to present all the material that is pertinent to the motion.”

"A judgment on the pleadings is properly granted when, taking all the allegations in
the pleadings as true, the moving party is entitled to judgment as a matter of law."
Nelson v. City of Irvine, 143 F.3d 1196, 1120 (9th Cir, 1998). Nonetheless, when they
contradict matters subject to judictal notice, the court need not accept alleged facts as
true. Sears, Roebuck & Co. v. Metropolitan Engraver, Ltd., 245 F.2d 67, 70 (9th Cir.

1956).
A motion to dismiss pursuant to Rule !2(b)(6):

will only be granted if the complaint fails to allege enough facts to
state a claim to relief that is plausible on its face. A claim has facial
plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for
the misconduct alleged. The plausibility standard is not akin to a
probability requirement, but it asks for more than a sheer possibility

that a defendant has acted unlawfully.

We accept factual allegations in the complaint as true and construe the
pleadings in the light most favorable to the non-moving party,
Although factual allegations are taken as true, we do not assume the

 

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truth of legal conclusions merely because they are cast in the form of
factual allegations. Therefore, conclusory allegations of law and
unwarranted inferences are insufficient to defeat a motion to dismiss.

Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (internal quotation marks
omitted)(citing, inter alia, Bell Atl, Corp. ¥. Twombly, 550. US. 544,547: (2007);
Asheroft v. Iqbal, 556 U.S. 662, 678, (2009)), “TRule] 8(a)(2) requires only ‘a short
and plain ‘statement of the claim showing that the pleader is entitledto relief,’ in order
to ‘give the defendant fair notice of what the... _ claim is and the grounds upon which
it rests.”" Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555(U.S, 2007)(citations
omitted), "[F]acts must be alleged to sufficiently apprise the defendant of the
complaint against him." Kubick v. Fed. Dep. Ins. Corp. (In re Kubick), 171 B.R. 658,

660 (B.A.P. 9th Cir. 1994).

C. Leave to Amend

Courts have the discretion to grant or deny leave to amend a complaint, Swansan v,
U.S. Forest Serv., 87 F.3d 339, 343 (9th Cir. 1996). "In exercising this discretion, a
court must be guided by the underlying purpose of Rule 15 to facilitate decision on
the merits, rather than on the pleadings or technicalities." United States v. Webb, 655
F.2d°977, 979 (9th Cir: 1981).The factors courts commonly consider when
determining whether to grant leave to. amend are; ,

1. Bad faith;

2. Undue delay;

3. Prejudice to the opposing party; and
4. Futility of amendment.

Ditto v. Me Curd) $10 F.3d 1070, 1079 @th Cir, 2007) (internal citations omitted).
Dismissal without leave to amend is appropriate when the court is satisfied that the
deficiencies in the complaint could not possibly be cured by amendment. Jackson v:
Carey, 353 F.3d 750, 758 (9th Cir. 2003); Lopes v. Smith, 203 F.3d 1122, 1127 (9th
Cir, 2000).

D. Timing of the Motion

 

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Plaintiff asserts that the Motion was not timely brought because discovery has already
opened. However, Rule 12(c) allows for a motion for judgment on the pleadings
"after the pleadings are closed—but early enough not to delay trial." The opening of
discovery has no effect on this timeframe. In addition, as Movants point out, the
Court has not yet scheduled a motion cut-off deadline or a trial date. Consequently,
the Motion was timely filed.

E. Statute of Limitations

Movants assert that any claims regarding forgery, cancellation or rescission are time
barred under California law. Under California Code of Civil Procedure ("CCCP") §
337, "An action upon any contract, obligation or liability founded upon an instrument
in writing" must be brought within four years. Under CCCP § 338(d) an "action for
relief on the ground of fraud or mistake" must be brought within three years.

"Equitable tolling applies to situations in which a party has several legal remedies,
pursues one such remedy reasonably and in good faith, and then turns to the second
remedy after the statute has expired on that remedy." Equitable Tolling of Statute of
Limitations, California Practice Guide; Administrative Law Ch, 16-D, Equitable
tolling can also be applied where the claimant “has actively pursued his judicial
remedies by filing a defective pleading or where he has been induced or tricked by his
adversary's misconduct into allowing the filing deadline to pass." Jnvin v. Dep't of
Veterans Affairs, 498 U.S. 89, 90 (1990).

Plaintiff filed the Probate Action on August 29, 2009. Plaintiff was aware of the fraud
and forgery Causes of action-at that time. Plaintiff argues that this ‘action is merely an
extension of the Probate Action, which concluded after the limitations period ended,
in 2017, There is no authority supporting this argument. This proceeding, a
bankruptcy court adversary proceeding, is not a continuation of the state court
proceeding. Consequently, based on California Jaw, Plaintiff's claims of fraud or
forgery are time-barred.

F. 11 U.S.C. § $24(a)(2)

Plaintiff argues that, as a result of }] U.S.C. § 524(a)(2), Defendants are barred from
attempting to collect their debt secured by the Property. Pursuant to § 524(a)(2), 8
discharge in a bankruptcy case “operates as an Injunction against the commencement

 

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or continuation of an action, the employment of process, or an act, to collect, recover
or offset any such debt as a personal liability of the debtor, whether or not discharge

of such debt is waived."

Plaintiff's allegations do not indicate that Defendants have taken any action which
violates the discharge injunction in his bankruptcy case. Plaintiff asserts that
Defendants are in the process of proceeding with a judicial foreclosure againstthe
Property, Such an action is not in violation of the discharge injunction, whichsapplies
only to: debtor's personal liability. Discharge does not impair a creditor's:right to
proceed in rem against praperty by which its claim is secured. dare Blendheim,-803
F.3d 477, 493-494 (9th Cir, 2015).

G. FRBP 3001(c)(2)(B) and (C)

Plaintiff alleges that Defendants violated FRBP 3001(c)(2)(B) and (C) by failing to
file-a proof of claim and accompanying dosuments. Under 11 U.S.C. §S01(a)).a
creditor "may file a proof of claim." A “claim is a right to paymentavithoutregard to
whether the creditor has filed a proof of claim. 11 U.S.C. § 1016). Secured: creditors:
must generally file proofs of claim in order to receive payment from the bankruptcy
estate; however, "a lien that secures a claim against the debtor is not void due only to
the failure of any entity to file a proof of claim." FRBP 3002(a).

Unless affirmative action is taken to avoid a lien, a "bankruptcy discharge
extinguishes only one mode of enforcing a claim—an in personam action;" liens and
other secured interests survive the bankruptcy. Johnson v. Home State Bank, 501 U.S.
78, 79 (1991). In other words, a bankruptcy discharge has the effect of relieving a
debtor's personal liability, but it does not exti nguish debts secured by property.
Consequently; regardless of Plaintiff's discharge, Defendants may take-nction to
satisfy their secured claim through the sale of the Property.

Furthermore, a failure to file's proof of claim does not give risé to a cause of action
which Miaintiffmay assert. As concéms Plaintiff, the only effect of a scoured
creditor's failure'to file a proof of claim is that the secured creditor may not take part
in distributions from the estate, if distributions to creditors from unencumbered,
nonexemipt property ever become available, Accordingly, Plaintiff has riot stated a
cause of action under FRBP 3001 (c)(2), nor can Plaintiff amend the Complaint in any

way that would state one.

 

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H, Fraudulent Concealment

Fraudulent concealment of a cause of action effectively "tolls" that cause of action for
the period for which it was fraudulently concealed. In order to assert that a cause of
action was tolled under a fraudulent concealment theory, a plaintiff must show: (1)
the substantive elements of fraud; and (2) an excuse for late discovery of the facts.
Investors Equity Life Holding Co. v. Schmidt, 195 Cal. App. 4th 1519 (4th Dist.
2013). The elements of an action for fraud and deceit based on concealment are:

(1) the defendant must have concealed or suppressed a material fact, (2) the
defendant must have becn under a duty to disclose the fact to the plaintiff, (3)
the defendant must have intentionally concealed or suppressed the fact with
the intent to defraud the plaintiff, (4) the plaintiff must have been unaware of
the fact and would not have acted as he did if he had known of the concealed
or suppressed fact, and (5) as a result of the concealment or suppression of the
fact, the plaintiff must have sustained damage.”

Marketing West, Inc. v. Sanyo Fisher (USA) Corp., 6 Cal. App. 4th 603, 612-613
(1992).

Plaintiff asserts his fourth cause of action on the theory that Defendants have known
that their chain of assignment was broken throughout the course of the state law
proceeding and Plaintiff's bankruptcy proceeding, and they fraudulently concealed
that information. The Court need not assess whether Plaintiff has properly alleged
fraudulent concealment, or timely brought the allegation, if Plaintiff cannot
demonstrate that he sustained damage as a result of the concealed fact. Plaintiff has
not demonstrated that he has standing to recover based on an improper assignment.

In Califomia, post-foreclosure wrongful foreclosure actions based on improper chain
of title are appropriate. See Yvanova v. New Century Morigage Corp., 62 Cal.4th 919
(2016); Glaski v. Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079 (2013). However,
California Courts of Appeal have held that a homeowner Jacks standing in a pre-
foreclosure action to challenge a foreclosure sale. Saterbak v. JP Morgan Chase
Bank, N.A., 245 Cal. App. 4th 808 (2016); Yhudai v. IMPAC Funding Corp., |
Cal.App.5th 1252 (2016),

 

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Furthermore, under Fvanova, Plaintiff lacks standing to argue the voidability of the
assignment of the DOT. In that case, a plaintiff brought a post-foreclosure suit for
wrongful foreclosure of her property, The plaintiff argued that the lender lacked an
interest in her property giving it the right to foreclose because its interest was based
on an assignment made after the closing date in the pooling and service agreement.
The California Supreme Court reasoned:

California law does not give a party personal] standing to assert rights or
interests belonging solely to others... When an assignment is merely voidable,
the power to ratify or avoid the transaction lies solely with the parties te the
assignment; the transaction is not void unless and until one of the parties takes
steps to make it so, A borrower who challenges a foreclasure an the ground
that an assignment to the foreclosing party bore defects rendering it voidable
could thus be said to assert an interest belonging solely to the parties to the
assignment rather than to herself.

Yvanova, 62 Cal. 4th at 936. The California Supreme Court held that void
assignments do confer standing on a borrower to bring a post-foreclosure action. Jd. at

942-943.

Plaintiff has not asserted that any party to the PSA or the assignments have taken
action to render the assignments void, and Plaintiff, who was not a party to the PSA,
does not have the power to bring a suit to void it. Accordingly, Plaintiff has not yet
suffered harm giving him standing to bring a suit based on the allegedly improper
assignments of the DOT. Moreover, because Plaintiff's failure to state a claim is
based on tack of standing, Plaintiff cannot amend the Complaint to state a claim for

relief on the current facts.

In any event, Plaintiff would have a problem demonstrating damages based on the
alleged improper chain of assignments, Regardless of the specific holder of the
assignment, the Property is encumbered. The harm to Plaintiff is not a result of the
allegedly improper assignment or the failure of any Defendant to reveal the nature of
the assignments to him, Consequently, Plaintiff has not asserted a cause of action
based on fraudulent concealment of the allegedly improper assignments of the DOT.

lL 18 U.S.C. § 157

 

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Pursuant to 18 U.S.C. § 157:

a person who, having devised or intending to devise a scheme or artifice to
defraud and for the purpose of executing or concealing such a scheme or
artifice or attempting to da so—~

(1) files a petition under title 11, including a fraudulent involuntary
petition under section 303 of such title;

(2) files a document in a proceeding under title 11; or

(3) makes a false or fraudulent representation, claim, or promise
concerning or in relation to a proceeding under title 11, at any time
before or after the filing of the petition, or in relation to a proceeding
falsely asserted to be pending under such title,

shall be fined under this title, imprisoned not more than 5 yeats, or both,

This statute deals with criminal bankruptcy fraud, and criminal matters are generally
not within the jurisdiction of bankruptcy courts. See Matter of Hipp, Inc., 895 F.2d
1503, 1511 (Sth Cir. 1990). In addition, as an initial matter, Plaintiff has not stated a
cause of action under !18 U.S.C. § 157 because the statute does not create a private
cause of action, See Lee v. United States Agency for Int'l Dev., 859 F.3d 74, 76 (D.C.
Cir. 2017) (holding that no private right of action is necessarily created by a criminal
statute which does not expressly create one).

A bankruptcy court may refer a matter to the district court and a district attomey
where the court believes that the statute has been violated and such referral is
appropriate, See In re McDonald, 497 B.R. 489, 493 (Bankr, DiS.©. 2.013). Mere,
however, it is not clear that Defendants have violated 18-U,S.C. § 157. Plaintiff has
not made allegations regarding any specifi¢ filing made by-any Defendant in the
bankruptey proceeding. The only filing by any Defendant in the main case is a request
for special notice by Deutsche Bank, Plaintiff alleges that Defendants made
misrepresentations to him and to the court in the Probate Action regarding the validity
of their title, but such a representation is not punishable under § 157 (which creates
criminal liability for fraudulent filings in a bankruptey proceeding). Consequently,
Plaintiff has not asserted a cause of action upon which relief can be granted under §
157, and would not be able to amend the Complaint to assert one.

 

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J. Declaratory Relief

Declaratory relief is a procedural device forgrinting a remedy. It does not create any
substantive rights or causes of action. Harris: Caunty Texas\v. MERSCORP Inc., 791
F.3d 545, 552 (Sth Cir. 2015), Courts inquire whether there is a'substantial
controversy, between parties having adverse legal interests, of sufficient immediacy
and reality to warrant the issuance of a declaratory judgment." Maryland Cas. Co. v,
Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941).

Plaintiff argues that declaratory relief is appropriate based on the actions of
Defendants to foreclose on the Property. However, as discussed above, Plaintiff has
not asserted any actual wrongdoing with respect to the foreclosure actions. In
addition, based on his fraudulent concealment theory, Plaintiff cannot assert any harm
pre-foreclosure. Therefore, Plaintiff does not have a "substantial controversy" with
Defendants upon which declaratory relicf can be granted, and he would not be able to

amend the Complaint to assert one.

WI, CONCLUSION

For the foregoing reasons, the Court will grant the motion without leave to amend as
to Movants and Deutsche Bank.

Movants must submit the order within seven (7) days.

 

   

 

 

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Debtor(s):
Steven Mark Rosenberg Represented By
Charles Shamash
Defendant(s):
Deutsche Bank National Trust Represented By
Marvin B Adviento
Lukasz ] Wozniak
T Robert Finlay
Nicole S Dunn
Ocwen Loan Servicing, Inc Represented By
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Marvin B Adviento
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Alliance Bancorp Estate Trustee Pro Se
MERS Mortage Electronic Represented By

Marvin B Adviento
Lukasz I Wozniak

T Robert Finlay
Nicole S Dunn
One West Bank Pro Se
DOES | through 25, inclusive Fro Se
CIT BANK, N.A. (f/k/a One West Represented By

Steven Mark Rosenberg
‘Trustee(s):
Amy L Goldman (TR)

KRISTIN WEBB

Pro Se

Pro Se

 

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[7 Individual appearing without attomey
xX, Attorney for Defendants, Ocwen Loan Servicing et al.

 

FOR COURT USE ONLY

 

UNITED STATES BA

NKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 

In re:
STEVEN MARK ROSENBERG,

Debtor(s).
STEVEN MARK ROSENBERG,

Plaintiff(s),
VS.
ALLIANCE BANCORP, INC (Estate), MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC.,
OCWEN LOAN SERVICING, ONE WEST BANK et al.

 

 

Defendant.

CASE NO.: 1:17-bk-11748-VK
CHAPTER: 7
ADVERSARY NO.: 1:17-ap-01096-VK

 

NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING
RE: (title of motion’):

MOTION FOR JUDGMENT ON THE
PLEADINGS

 

PLEASE TAKE NOTE that the order or judgment titled Order Granting Defendants' Motion for Judgment on-tha

Pleadinas

was lodged on (date).__05/03/2018.

 

' Please abbreviate if title cannot fit into text field.

and Is attached. This order relates to the motion which Is docket number 16_.

 

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Callfornia.

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PROOF OF SERVICE

I, Jovete Elguira, declare as follows:

I am employed in the County of Orange, State of California. I am over the age of
eighteen (18) and not a party to the within action. My business address is 4665
MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence is
deposited with the United States Postal Service the same day in the ordinary course of
business. I am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for
mailing in affidavit.

On May 3, 2018, I served the within NOTICE OF LODGMENT OF ORDER

GRANTING DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
on all interested parties in this action as follows:

[X] by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s)
addressed as follows:

[SEE ATTACHED SERVICE LIST]

[X] (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this
date following ordinary business practices.

[ ] (BY FEDERAL EXPRESS OVERNIGHT- NEXT DAY DELIVERY) I placed true
and correct copies thereof enclosed in a package designated by Federal Express
Overnight with the delivery fees provided for.

[X] (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to the
office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). “A Notice of Electronic Filing
(NEF) is generated automatically by the ECF system upon completion of an
electronic filing. The NEF, when e-mailed to the e-mail address of record in the
case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
copy of the NEF shall be attached to any document served in the traditional manner
upon any party appearing pro se.”

[X] (Federal) I declare under penalty of perjury wnder the laws of the United States of
America that the foregoing is true and correct.

Executed on May 3, 2018, at Newport Beach, California.
Jovgte Elguita “)

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ATTACHED SERVICE LIST

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WRIGHT FINLAY& ZAK”

Case 1:

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CLERK U.S. BANKRUPTCY COURT
eves District of California
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and Mortgage Electronic Registration Systems, Inc.

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: STEVEN MARK ROSENBERG,
* Debtor.

 

STEVEN MARK ROSENBERG,

Plaintiff,
Vv.

ALLIANCE BANCORP, INC (Estate),
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
OCWEN LOAN SERVICING, ONE
WEST BANK, DEUTSCHE BANK
NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OA1 AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

 

Bankruptcy Case No. 1:17-bk-11748-VK
Chapter 7

Adversary Case No. 1:17-ap-01096-VK

JUDGMENT FOLLOWING
DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

Hearing:

Date: May 2, 2018
Time: 2:30 p.m.
Crtrm: 301

 

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JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR JUDGMENT
ON THE PLEADINGS

 

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 37 of 103 Page ID #:914

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7-ap-01096-VK Doc55 Filed 05/16/18 Entered 05/16/18 21:53:01 Desc
Imaged Certificate of Notice Page 3 of 3

The Motion for Judgment on the Pleadings of Defendants, Ocwen Loan
Servicing, LLC and Mortgage Electronic Registration Systems, Inc.
(“Defendants”), as to the Complaint of Plaintiff, Steven Mark Rosenberg
(“Plaintiff”), came on regularly for hearing on May 2, 2018, at 2:30 p.m. in
Courtroom “301” of the above-entitled Court, located at 21041 Burbank Blvd.,
Courtroom 301, Woodland Hills, California.

Having considered the papers submitted by the parties and having given the
parties the opportunity to present oral argument, the Court ORDERED as follows:

1. Defendants’ Motion for Judgment on the Pleadings is GRANTED

without leave to amend.

Ds Judgment on Plaintiffs Complaint shall be entered in favor of

Defendants, Ocwen Loan Servicing, LLC and Mortgage Electronic
Registration Systems, Inc.;

3. Plaintiff's entire action against Defendants is DISMISSED with

prejudice;

4. Plaintiff shall take nothing by the Complaint,

This is a final judgment.

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Nate: May 14, 2018 Victorias. Kaufman S a
' United States Bankruptcy Judge

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JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR JUDGMENT
ON THE PLEADINGS

 

301

 
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 38 of 103 Page ID #:915

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and Mortgage Electronic Registration Systems, Inc.

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: STEVEN MARK ROSENBERG, | Bankruptcy Case No. 1:17-bk-11748-VK

 

Debtor. Chapter 7
Adversary Case No. 1:17-ap-01096-VK
STEVEN MARK ROSENBERG,
AMENDED ORDER GRANTING
Plaintiff, DEFENDANTS’ MOTION FOR
Vv. JUDGMENT ON THE PLEADINGS

ALLIANCE BANCORP, INC (Estate), | Hearing:
MORTGAGE ELECTRONIC Date: May 2, 2018
REGISTRATION SYSTEMS, INC., | Time: 2:30 p.m.
OCWEN LOAN SERVICING, ONE | Crtrm: 301

WEST BANK, DEUTSCHE BANK
NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OA1 AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

 

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“AMENDED ORDER GRANTING DEFENDANTS’ MOTIONFOR _
JUDGMENT ON THE PLEADINGS

 

 

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The Motion for Judgment on the Pleadings of Defendants, Ocwen Loan
Servicing, LLC and Mortgage Electronic Registration Systems, Inc. and Joinder of
Deutsche Bank National Trust Company, As Trustee For Alliance Bancorp
Mortgage Backed Pass-Through Certificate Series 2007-OA1 (collectively
“Defendants”), as to the Complaint of Plaintiff, Steven Mark Rosenberg
(“Plaintiff”), came on regularly for hearing on May 2, 2018, at 2:30 p.m. in
Courtroom “301” of the above-entitled Court, located at 21041 Burbank Blvd.,
Courtroom 301, Woodland Hills, California.

Having considered the papers submitted by the parties and having given the
parties the opportunity to present oral argument, the Court ORDERED as follows:

1. Defendants’ Motion for Judgment on the Pleadings is GRANTED
without leave to amend. A true and correct copy of the May 2, 2018 Ruling is

attached hereto as Exhibit “A” and incorporated herein by reference in its entirety.

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ORDER GRANTING DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS

 

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EXHIBIT A

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United States Bankruptcy Court
Centra! District of California
San Fernando Valley .,
Judge Victoria Kaufman, Presiding
Courtroom 301 Calendar

 

Wednesday, May 2, 2018 Hearing Room 301
2:30 PM
1:17-11748 Steven Mark Rosenberg Chapter 7

Adv#: 1:17-01096 Rosenberg v. Deutsche Bank National Trust Company, As Trustee F

#17.00 Defendant's motion for judgment on the pleadings
fr. 4/4/18; 4/18/18

Docket 16

Judge:
1. BACKGROUND

On June 30, 2017, Steven Mark Rosenberg ("Plaintiff") filed his voluntary chapter 7
petition. On October 10, 2017, Plaintiff received his chapter 7 discharge [1:17-
bk-11748-VK, doc. 21]. On November 27, 2017, Debtor filed an adversary complaint
("Complaint") against Deutsche Bank National Trust Company ("Deutsche Bank"),
Ocwen Loan Servicing, Inc. ("Ocwen"), Alliance Bancorp, Inc. ("Alliance"), Alliance
Bancorp Estate Trustee Charles A. Stanziale, Jr, MERS Mortgage Electronic
Registration Systems, Inc. ("MERS"), One West Bank ("One West"), and Does 1-25.

The Complaint alleges causes of action for violation of 1] U.S.C. § 524(a), violation
of Federal Rule of Bankruptcy Procedure ("FRBP") 3001(¢)(2)(B) and (C), fraudulent
concealment, violation of 18 U.S.C. § 157 and declaratory relief, and demands a jury
trial. The Complaint bases these claims on the following facts:

Plaintiff is the sole beneficiary of the Isadore and Norma P. Rosenberg Trust,
and a personal representative of the Estate of Isadore Rosenberg, who passed
away in 2008. Complaint, § 8.

On March 15, 2007 an alleged deed of trust (the "DOT") securing a $390,000
promissory note was recorded against real property owned by Isadore
Rosenberg located at 15814 Septo Street, North Hills, CA 91343 (the
Property"). The DOT was recorded for the benefit of Ampro Mortgage, a
division of United Financial Mortgage Corporation ("Ampro”), the
predecessor to Alliance as the lender, and MERS as nominee for the lender.
Isadore was feeble with macular degeneration at the time and could not have
signed the documents. Complaint, { 9.

 

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United States Bankruptey Court
Central District of California
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CONT... Steven Mark Rosenberg Chapter 7

On April 16, 2008, Ampro assigned the DOT to IndyMac Bank, FSB
("IndyMac") via MERS, but that assignment was not acknowledged until
August 2008 [doc. 1, Exh. 1}. Ampro filed a chapter 7 bankruptcy petition and
was dissolved on February |, 2008. By the time of the purported assignment,
Ampro had been dissolved.

Also on April! 16, 2008, IndyMac transferred the DOT to Deutsche Bank as
trustee for Alliance 2007-OA1, but was not acknowledged until December 29,
2009 [doc. 1, Exh 2]. A third "correction of assignment" was recorded on
March 17, 2017. Complaint, { 30.

The Pooling and Service Agreement regarding the DOT (the "PSA") provided
that the depositor, master servicer, trustee or the securities administrator were
not authorized to accept contributions to the real estate mortgage investment
conduits after the closing date on May 30, 2007. The appropriate processing
for the Property was never properly transferred to Alliance Bancorp 2007
OA-1 per the requirements of the PSA prospectus. Consequently, Defendants
have never had proper title to the property. Complaint J 16, 27-31, 36-38.

The DOT and accompanying documents (e.g., the grant deed and adjustable
rate rider) bears a signature forged by Isadore Rosenberg’s former caregiver,
David Curtis Harder. The Complaint includes a Forensic Handwriting Expert
Summary Report [doc. 1, Exh. 4].

On August 29, 2009, Plaintiff filed an action via the probate proceedings for
Isadore Rosenberg’s estate, seeking to determine title to the Property and
asserting that the DOT was a forgery (the "Probate Action"). Complaint,
13-14. Plaintiff filed a request to voluntarily dismiss the Probate Action in
January 2015, and the probate court granted the request with prejudice.
Plaintiff appealed, and the appellate court reversed the order of dismissal,
ordering the petition be dismissed without prejudice. The Probate Action was
dismissed without prejudice on January 19, 2017. Complaint, { 20.

Since 2008, One West and Deutsche Bank have initiated a number of
wrongful foreclosure proceedings against Plaintiff. One West and Deutsche
Bank do not have rights to foreclosure based on legitimate documentation,

 

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United States Bankruptcy Court

Central District of California
San Fernando Valley

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Wednesday, May 2, 2018 Hearing Room 301
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CONT... Steven Mark Rosenberg Chapter 7

because Alliance never had a proper loan. Based on this, under the California
Homeowner’s Bill of Rights, Plaintiff seeks redress of material violations of
the foreclosure process.

None of the entities listed as Defendants in this adversary proceeding filed a
proof of claim in the main bankruptcy case. At the time the adversary
complaint was filed, a nonjudicial foreclosure of the Property was scheduled
for November 28, 2017.

On January 23, 2018, Plaintiff voluntarily dismissed the Complaint with respect to
Defendants CIT Bank (f.k.a. One West Bank, erroneously sued as One West Bank)
and Alliance Bancorp [doc. 13]. That dismissal left Deutsche Bank, MERS and
Ocwen ("Defendants") as the only remaining parties to this action.

On February 13, 2018, Ocwen and MERS (together, "Movants") filed a motion for
judgement on the pleadings (the "Motion") [doc. 16]. The Motion was accompanied
by a request for judicial notice in support of the Motion (the "RIN") [doc. 17].
Movants argue that the allegations in the Complaint regarding forgery, fraud and
rescission are time barred, and that the challenge to the foreclosure based on the
alleged broken chain of title fails because Plaintiff has no standing. Movants also
argue that the matter in the complaint is non-core and they will not consent to final

judgment.

On March 9, 2018, Deutsche Bank, the current beneficiary of the loan secured by the
DOT, filed a joinder in the Motion and the RJN (the "Joinder") [doc. 24]. Because the
allegations against Deutsche Bank are identical to the allegations against Movants,
Deutsche Bank joins in each and every argument and authority in the Motion.
Deutsche Bank also states that it does not consent to the entry of final orders or
judgments in this case because it is a non-core matter.

On March 21, 2018, Plaintiff filed an opposition to the Motion (the "Opposition").
The Opposition asserts, among other things that: (1) Plaintiff filed this adversary
proceeding in 2017, as a continuation of litigation that was commenced in 2009; (2)
that he has standing to challenge the assignments under California Jaw; (3) that the
Motion gives rise to estoppel, and Movants have impliedly admitted all the
allegations in the Complaint are true; (4) the bankruptcy case has not been properly
discharged because there was no proper 11 U.S.C. § 341(a) meeting; and (4) a Rule

 

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CONT... Steven Mark Rosenberg Chapter 7

12(c) motion is not appropriate because Plaintiff has initiated the discovery process
by having an initial conference pursuant to Federal Rule of Civil Procedure 26.

On March 28, 2018, Defendants filed a reply to the Opposition (the "Reply") [doc.
32]. In the Reply, Movants request that the Motion be granted with prejudice (without
leave to amend).

TI. DISCUSSION
A. Jurisdiction

Movants argue that the claims asserted in the Complaint will have no effect on
Plaintiff's discharge in this case, and there are no issues to be determined under
bankruptcy law. However, Movants do not cite any authority to support the blanket
statement that a bankruptcy court does not have jurisdiction to hear matters which do
not affect the discharge in a case.

Movants also argue that even if Plaintiff prevailed, the estate would remain insolvent.
However, Plaintiff's Schedule D [doc. 1, p. 20} reflects that Ocwen (as servicer for
Deutsche Bank) is the only creditor with a claim secured by the Property. If that lien
were entirely voided, the Trustee could sell the Property, and the nonexempt equity
could leave the estate with funds to pay creditors.

Finally, Movants and Deutsche Bank assert that they do not consent to the entry of
fina! orders or judgments by this Court. This does not deprive the Court of
jurisdiction; the Court can issue findings of fact and conclusions of law regarding
non-core matters for approval by the district court. In addition, some of the causes of
action in the complaint.are based on bankruptcy rules or statutes. The Court may enter
final judgment regarding core matters without the parties’ consent. 28 U.S.C. § 157(b)
(1) ("Bankruptcy judges may hear and determine all cases under title 11 and all core
proceedings arising under title 11, or arising in a case under title 11... and may enter
appropriate orders and judgments....").

B. Standard for Judgment on the Pleadings

Federal Rule of Civil Procedure ("Rule") 12(c), applicable through FRBP 7012,
provides that "[a]fter the pleadings are closed--but early enough not to delay trial--a

 

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United States Bankruptcy Court

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party may move for judgment on the pleadings." In deciding a Rule 12(c) motion, the
court applies the same standards applicable to a Rule !2(b)(6) motion. See Cafasso,
U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1054, fn. 4 (9th
Cir. 2011) ("Rule 12(c) is ‘functionally identical’ to Rule 12(b)(6)").

In resolving a Rule 12(c) motion, the court can consider (without converting the
motion to a summary judgment): (a) the complaint and answer; (b) any documents
attached to or mentioned in the pleadings; (c) documents not attached but "integral" to
the claims; and (d) matters subject to judicial notice. L-7 Designs, Inc. v. Old Navy,
LLC, 647 F.3d 419, 422 (2nd Cir. 2011); Massey v. Ojaniit, 759 F.3d 343, 347-348
(4th Cir. 2014).

However, under Rule 12(d), if, "on a motion under Rule 12(b)(6) or 12(c), matters
outside the pleadings are presented to and not excluded by the court, the motion must
be treated as one for summary judgment under Rule 56. All parties must be given a
reasonable opportunity to present all the material that is pertinent to the motion.”

"A judgment on the pleadings is properly granted when, taking all the allegations in
the pleadings as true, the moving party is entitled to judgment as a matter of law."
Nelson v. City of Irvine, 143 F.3d 1196, 1120 (9th Cir. 1998). Nonetheless, when they
contradict matters subject to judicial notice, the court need not accept alleged facts as
true. Sears, Roebuck & Co. v. Metropolitan Engraver, Ltd., 245 F.2d 67, 70 (9th Cir.
1956).

A motion to dismiss pursuant to Rule 12(b)(6):

will only be granted if the complaint fails to allege enough facts to
state a claim to relief that is plausible on its face. A claim has facial
plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for
the misconduct alleged. The plausibility standard is not akin to a
probability requirement, but it asks for more than a sheer possibility
that a defendant has acted unlawfully.

We accept factual allegations in the complaint as true and construe the
pleadings in the light most favorable to the non-moving party.
Although factual allegations are taken as true, we do not assume the

 

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truth of legal conclusions merely because they are cast in the form of
factual allegations. Therefore, conclusory allegations of law and
unwarranted inferences are insufficient to defeat a motion to dismiss.

Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (internal quotation marks
omitted)(citing, inter alia, Bell Atl, Corp. v. Twombly, 550 U.S, 544, 547 (2007);
Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009)). "[Rule] 8(a)(2) requires only ‘a short
and plain statement of the claim showing that the pleader is entitled to relief,’ in order
to ‘give the defendant fair notice of what the ... claim is and the grounds upon which
it rests.’" Bell Atl, Corp. v. Twombly, 550 U.S, 544, 555 (U.S. 2007)(citations
omitted), "[F]acts must be alleged to sufficiently apprise the defendant of the
complaint against him." Kubick v. Fed. Dep. Ins. Corp. (Inre Kubick), 171 B.R. 658,
660 (B.A.P. 9th Cir. 1994).

C. Leave to Amend

Courts have the discretion to grant or deny leave to amend a complaint. Swanson v.
U.S. Forest Serv., 87 F.3d 339, 343 (9th Cir. 1996). "In exercising this discretion, a
court must be guided by the underlying purpose of Rule 15 to facilitate decision on
the merits, rather than on the pleadings or technicalities." United States v. Webb, 655
F.2d 977, 979 (9th Cir. 1981). The factors courts commonly consider when
determining whether to grant leave to amend are:

|. Bad faith;

2. Undue delay;

3. Prejudice to the opposing party; and
4, Futility of amendment.

Ditto v. McCurdy, 510 F.3d 1070, 1079 (9th Cir. 2007) (internal citations omitted).
Dismissal without leave to amend is appropriate when the court is satisfied that the
deficiencies in the complaint could not possibly be cured by amendment. Jackson v.
Carey, 353 F.3d 750, 758 (9th Cir. 2003); Lopez v. Smith, 203 F.3d 1122, 1127 (9th
Cir. 2000).

D. Timing of the Motion

 

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CONT... Steven Mark Rosenberg Chapter 7

Plaintiff asserts that the Motion was not timely brought because discovery has already
opened. However, Rule 12(c) allows for a motion for judgment on the pleadings
"after the pleadings are closed—but early enough not to delay trial." The opening of
discovery has no effect on this timeframe. In addition, as Movants point out, the
Court has not yet scheduled a motion cut-off deadline or a trial date. Consequently,
the Motion was timely filed.

E. Statute of Limitations

Movants assert that any claims regarding forgery, cancellation or rescission are time
barred under California law. Under California Code of Civil Procedure ("CCCP") §
337, “An action upon any contract, obligation or liability founded upon an instrument
in writing" must be brought within four years. Under CCCP § 338(d) an "action for
relief on the ground of fraud or mistake" must be brought within three years.

"Equitable tolling applies to situations in which a party has several legal remedies,
pursues one such remedy reasonably and in good faith, and then turns to the second
remedy after the statute has expired on that remedy." Equitable Tolling of Statute of
Limitations, California Practice Guide: Administrative Law Ch. 16-D. Equitable
tolling can also be applied where the claimant "has actively pursued his judicial
remedies by filing a defective pleading or where he has been induced or tricked by his
adversary's misconduct into allowing the filing deadline to pass." Irwin v. Dep't of
Veterans Affairs, 498 U.S. 89, 90 (1990).

Plaintiff filed the Probate Action on August 29, 2009. Plaintiff was aware of the fraud
and forgery causes of action at that time. Plaintiff argues that this action is merely an
extension of the Probate Action, which concluded after the limitations period ended,
in 2017. There is no authority supporting this argument. This proceeding, a
bankruptcy court adversary proceeding, is not a continuation of the state court
proceeding. Consequently, based on California law, Plaintiff's claims of fraud or

forgery are time-barred.

F. 11 U.S.C. § 524(a)(2)

Plaintiff argues that, as a result of 11 U.S.C. § 524(a)(2), Defendants are barred from

attempting to collect their debt secured by the Property. Pursuant to § 524(a)(2), a
discharge in a bankruptcy case "operates as an injunction against the commencement

 

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or continuation of an action, the employment of process, or an act, to collect, recover
or offset any such debt as a personal liability of the debtor, whether or not discharge
of such debt is waived."

Plaintiff's allegations do not indicate that Defendants have taken any action which
violates the discharge injunction in his bankruptcy case. Plaintiff asserts that
Defendants are in the process of proceeding with a judicial foreclosure against the
Property. Such an action is not in violation of the discharge injunction, which applies
only to a debtor's personal liability. Discharge does not impair a creditor’s right to
proceed in rem against property by which its claim is secured. In re Blendheim, 803
F.3d 477, 493-494 (9th Cir. 2015).

G. FRBP 3001(c)(2)(B) and (C)

Plaintiff alleges that Defendants violated FRBP 3001(c)(2)(B) and (C) by failing to
file a proof of claim and accompanying documents, Under 11 U.S.C. § 501(a), a
creditor “may file a proof of claim." A "claim" is a right to payment without regard to
whether the creditor has filed a proof of claim. 11 U.S.C. § 101(5). Secured creditors
must generally file proofs of claim in order to receive payment from the bankruptcy
estate; however, “a lien that secures a claim against the debtor is not void due only to
the failure of any entity to file a proof of claim." FRBP 3002(a).

Unless affirmative action is taken to avoid a lien, a “bankruptcy discharge
extinguishes only one mode of enforcing a claim—an in personam action;" liens and
other secured interests survive the bankruptcy. Johnson v. Home State Bank, 501 U.S.
78, 79 (1991). In other words, a bankruptcy discharge has the effect of relieving a
debtor's personal liability, but it does not extinguish debts secured by property.
Consequently, regardless of Plaintiff's discharge, Defendants may take action to
satisfy their secured claim through the sale of the Property.

Furthermore, a failure to file a proof of claim does not give rise to a cause of action
which Plaintiff may assert. As concerns Plaintiff, the only effect of a secured
creditor’s failure to file a proof of claim is that the secured creditor may not take part
in distributions from the estate, if distributions to creditors from unencumbered,
nonexempt property ever become available. Accordingly, Plaintiff has not stated a
cause of action under FRBP 3001 (c)(2), nor can Plaintiff amend the Complaint in any
way that would state one.

 

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United States Bankruptcy Court

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H. Fraudulent Concealment

Fraudulent concealment of a cause of action effectively "tolls" that cause of action for
the period for which it was fraudulently concealed. In order to assert that a cause of
action was tolled under a fraudulent concealment theory, a plaintiff must show: (1)
the substantive elements of fraud; and (2) an excuse for late discovery of the facts.
Investors Equity Life Holding Co. v. Schmidt, 195 Cal. App. 4th 1519 (4th Dist.
2011). The elements of an action for fraud and deceit based on concealment are:

(1) the defendant must have concealed or suppressed a material fact, (2) the
defendant must have been under a duty to disclose the fact to the plaintiff, (3)
the defendant must have intentionally concealed or suppressed the fact with
the intent to defraud the plaintiff, (4) the plaintiff must have been unaware of
the fact and would not have acted as he did if he had known of the concealed
or suppressed fact, and (5) as a result of the concealment or suppression of the
fact, the plaintiff must have sustained damage."

Marketing West, Inc. v. Sanyo Fisher (USA) Corp., 6 Cal. App. 4th 603, 612-613
(1992).

Plaintiff asserts his fourth cause of action on the theory that Defendants have known
that their chain of assignment was broken throughout the course of the state law
proceeding and Plaintiff's bankruptcy proceeding, and they fraudulently concealed
that information. The Court need not assess whether Plaintiff has properly alleged
fraudulent concealment, or timely brought the allegation, if Plaintiff cannot
demonstrate that he sustained damage as a result of the concealed fact. Plaintiff has
not demonstrated that he has standing to recover based on an improper assignment.

In California, post-foreclosure wrongful foreclosure actions based on improper chain
of title are appropriate. See Yvanova v. New Century Mortgage Corp., 62 Cal.4th 919
(2016); Glaski v. Bank of Am., Nat'l Ass'n, 218 Cal. App. 4th 1079 (2013). However,
California Courts of Appeal have held that a homeowner lacks standing in a pre-
foreclosure action to challenge a foreclosure sale. Saterbak v. JP Morgan Chase
Bank, N.A., 245 Cal. App. 4th 808 (2016); Yhudai v. IMPAC Funding Corp., |

Cal.App.5th 1252 (2016).

 

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 50 of 103 Page ID #:927

Case 1:17-ap-01096-VK Doc 81 Filed 05/0@/18 Entered 05/06/18 07:68:49 Desc
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United States Bankruptcy Court
Central District of California
San Fernando Valley

Judge Victoria Kaufman, Presiding
Courtroom 301 Calendar

 

Wednesday, May 2, 2018 Hearing Room 301
2:30 PM
CONT... Steven Mark Rosenberg Chapter 7

Furthermore, under Yvanova, Plaintiff lacks standing to argue the voidability of the
assignment of the DOT. In that case, a plaintiff brought a post-foreclosure suit for
wrongful foreclosure of her property. The plaintiff argued that the lender lacked an
interest in her property giving it the right to foreclose because its interest was based
on an assignment made after the closing date in the pooling and service agreement.
The California Supreme Court reasoned:

California law does not give a party personal standing to assert rights or
interests belonging solely to others... When an assignment is merely voidable,
the power to ratify or avoid the transaction lies solely with the parties to the
assignment; the transaction is not void unless and until one of the parties takes
steps to make it so. A borrower who challenges a foreclosure on the ground
that an assignment to the foreclosing party bore defects rendering it voidable
could thus be said to assert an interest belonging solely to the parties to the
assignment rather than to herself.

Yvanova, 62 Cal, 4th at 936. The California Supreme Court held that void
assignments do confer standing on a borrower to bring a post-foreclosure action. /d. at

942-943.

Plaintiff has not asserted that any party to the PSA or the assignments have taken
action to render the assignments void, and Plaintiff, who was not a party to the PSA,
does not have the power to bring a suit to void it. Accordingly, Plaintiff has not yet
suffered harm giving him standing to bring a suit based on the allegedly improper
assignments of the DOT. Moreover, because Plaintiff's failure to state a claim is
based on lack of standing, Plaintiff cannot amend the Complaint to state a claim for

relief on the current facts.

In any event, Plaintiff would have a problem demonstrating damages based on the
alleged improper chain of assignments. Regardless of the specific holder of the
assignment, the Property is encumbered. The harm to Plaintiff is not a result of the
allegedly improper assignment or the failure of any Defendant to reveal the nature of
the assignments to him. Consequently, Plaintiff has not asserted a cause of action
based on fraudulent concealment of the allegedly improper assignments of the DOT.

I, 18 U.S.C. § 157

 

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Case 1:17-ap-01096-VK Doc81 Filed 05/08/18 Entered 05/06/18 07:60:22 Desc
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United States Bankruptcy Court
Central District of California
San Fernando Valley
Judge Victoria Kaufman, Presiding
Courtroom 301 Calendar

 

Wednesday, May 2, 2018 Hearing Room 301
2:30 PM
CONT... Steven Mark Rosenberg Chapter 7

Pursuant to 18 U.S.C. § 157:

a person who, having devised or intending to devise a scheme or artifice to
defraud and for the purpose of executing or concealing such a scheme or
attifice or attempting to do so—

(1) files a petition under title 11, including a fraudulent involuntary
petition under section 303 of such title;

(2) files a document in a proceeding under title 11, or

(3) makes a false or fraudulent representation, claim, or promise
concerning or in relation to a proceeding under title 11, at any time
before or after the filing of the petition, or in relation to a proceeding
falsely asserted to be pending under such title,

shall be fined under this title, imprisoned not more than 5 years, or both.

This statute deals with criminal bankruptcy fraud, and criminal matters are generally
not within the jurisdiction of bankruptcy courts. See Matter of Hipp, Inc., 895 F.2d
1503, 151! (Sth Cir. 1990). In addition, as an initial matter, Plaintiff has not stated a
cause of action under 18 U.S.C. § 157 because the statute does not create a private
cause of action. See Lee v. United States Agency for Int'l Dev., 859 F.3d 74, 76 (D.C.
Cir. 2017) (holding that no private right of action is necessarily created by a criminal
statute which does not expressly create one).

A bankruptcy court may refer a matter to the district court and a district attorney
where the court believes that the statute has been violated and such referral is
appropriate. See In re McDonald, 497 B.R. 489, 493 (Bankr. D.S.C. 2013). Here,
however, it is not clear that Defendants have violated 18 U.S.C. § 157. Plaintiff has
not made allegations regarding any specific filing made by any Defendant in the
bankruptcy proceeding. The only filing by any Defendant in the main case is a request
for special notice by Deutsche Bank. Plaintiff alleges that Defendants made
misrepresentations to him and to the court in the Probate Action regarding the validity
of their title, but such a representation is not punishable under § 157 (which creates
criminal liability for fraudulent filings in a bankruptcy proceeding). Consequently,
Plaintiff has not asserted a cause of action upon which relief can be granted under §
157, and would not be able to amend the Complaint to assert one.

 

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 52 of 103 Page ID #:929

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United States Bankruptey Court

Central District of California
San Fernando Valley

Judge Victoria Kaufman, Presiding
Courtroom 301 Calendar

 

Wednesday, May 2, 2018 Hearing Room 301
2:30 PM
CONT... Steven Mark Rosenberg Chapter 7

J. Declaratory Relief

Declaratory relief is a procedural device for granting a remedy. It does not create any
substantive rights or causes of action. Harris County Texas v. MERSCORP Inc., 791
F.3d 545, 552 (5th Cir. 2015). Courts inquire whether there is a "substantial
controversy, between parties having adverse legal interests, of sufficient immediacy
and reality to warrant the issuance of a declaratory judgment." Maryland Cas. Co. v.
Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941),

Plaintiff argues that declaratory relief is appropriate based on the actions of
Defendants to foreclose on the Property. However, as discussed above, Plaintiff has
not asserted any actual wrongdoing with respect to the foreclosure actions. In
addition, based on his fraudulent concealment theory, Plaintiff cannot assert any harm
pre-foreclosure. Therefore, Plaintiff does not have a "substantial controversy" with
Defendants upon which declaratory relief can be granted, and he would not be able to
amend the Complaint to assert one.

Il. CONCLUSION

For the foregoing reasons, the Court will grant the motion without leave to amend as
to Movants and Deutsche Bank.

Movants must submit the order within seven (7) days.

 

 

[ _ Party Information..
Debtor(s):
Steven Mark Rosenberg Represented By

Charles Shamash

Defendant(s):

Deutsche Bank National Trust Represented By
Marvin B Adviento
Lukasz I Wozniak
T Robert Finlay
Nicole § Dunn

Ocwen Loan Servicing, Inc Represented By

 

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 53 0f 103 Page ID #:930

Case 1:17-ap-01096-VK Doc 81 Filed 05/08/18 Entered 05/06/18 07:60:24 Desc
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United States Bankruptcy Court
Central District of California
San Fernando Valley
Judge Victoria Kaufman, Presiding
Courtroom 301 Calendar

 

Wednesday, May 2, 2018 Hearing Room 301
2:30 PM
CONT... Steven Mark Rosenberg Chapter 7

Marvin B Adviento
Lukasz I Wozniak

T Robert Finlay
Nicole S Dunn
Alhiance Bancorp, Inc Represented By
Marvin B Adviento
Alliance Bancorp Estate Trustee Pro Se
MERS Mortage Electronic Represented By

Marvin B Adviento
Lukasz I Wozniak
T Robert Finlay

Nicole S Dunn
One West Bank Pro Se
DOES | through 25, inclusive Pro Se
CIT BANK, N.A. (f/k/a One West Represented By

KRISTIN WEBB
Plaintiff(s):

Steven Mark Rosenberg Pro Se
Trustee(s):

Amy L Goldman (TR) Pro Se

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317
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 54 o0f 103 Page ID #:931

| mailing in affidavit.

 

 

Case 1:17-ap-01096-VK Doc51 Filed 05/16/18 Entered 05/16/18 17:00:22 Desc
Main Document Page 17 of 18

PROOF OF SERVICE

I, Jovete Elguira, declare as follows:

Iam employed in the County of Orange, State of California. J am over the age of
eighteen (18) and not a party to the within action. My business address is 4665
MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence is
deposited with the United States Postal Service the same day in the ordinary course of
business. I am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for

On May 16, 2018, I served the within AMENDED ORDER GRANTING
DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS on all
interested parties in this action as follows:

[X] by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s)
addressed as follows:

[SEE ATTACHED SERVICE LIST]

[X] (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this
date following ordinary business practices.

[ ] (BY FEDERAL EXPRESS OVERNIGHT- NEXT DAY DELIVERY) I placed true
- and: correct copies thereof enclosed in a package designated bye Federal Express °* «:
' Overnight withthe delivery fees provided for. ~~" '

[X] (CM/ECF Electronic Filing), I caused the above documsjei(s) to be. teegismitted to the
office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). “A Notice of Electronic Filing
(NEF) is generated automatically by the ECF system upon completion of an
electronic filing. The NEF, when e-mailed to the e-mail address of record in the
case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
copy of the NEF shall be attached to any document served in the traditional manner
upon any-party appearing pro se.”

[X] (Federal) J declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on May 16, 2018, at Newport Beach, California.

tac
J o¥gte Elguira—/

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PROOF OF SERVICE

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 55 of 103 Page ID #:932

Case 1:17-ap-01096-VK Doc51 Filed 05/16/18 Entered 05/16/18 17:00:22 Desc
Main Document Page 18 of 18

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93, || U.S. Trustee

24 lJ udge Victoria S. Kaufman

95 ||U.S. Bankruptcy Court — Central District
 ||(San Fernando Valley)

26 |21041 Burbank Blvd.

97 || Woodland Hills, CA 91367-6603

28
2
PROOF OF SERVICE

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 56 0f 103 Page ID #:933

y

WRIGHT FINLAY& ZAK”

Case

ATTORNEYS AT LAW

—

Ye Ne N NY SB BP RDB KN ee He ewe ew me ee ee
oN DN FF Be NH KF& Do we I DD BR wDW HH BS

Oo ©o& N DA A FP WH NY

|| TRUSTEE FOR ALLIANCE

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Attorneys for Defendants, Ocwen Loan Servicing, LLC
and Mortgage Electronic Registration Systems, Inc.

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: STEVEN MARK ROSENBERG, | Bankruptcy Case No. 1:17-bk-11748-VK.

 

Debtor, Chapter 7
Adversary Case No. 1:17-ap-01096-VK
STEVEN MARK ROSENBERG,
AMENDED JUDGMENT
Plaintiff, FOLLOWING DEFENDANTS’
Vv, MOTION FOR JUDGMENT ON

THE PLEADINGS
ALLIANCE BANCORP, INC (Estate),
MORTGAGE ELECTRONIC Hearing:
REGISTRATION SYSTEMS, INC., | Date: May 2, 2018
OCWEN LOAN SERVICING, ONE |Time: 2:30 p.m.
WEST BANK, DEUTSCHE BANK ‘| Crtrm: 301
NATIONAL TRUST COMPANY, AS

BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OAl AND DOES 1
THROUGH 25, INCLUSIVE,

Defendants.

 

|
AMENDED JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

 

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WRIGHT FINLAY& ZAK”

Case

ATTORNEYS AT LAW

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The Motion for Judgment on the Pleadings of Defendants, Ocwen Loan
Servicing, LLC and Mortgage Electronic Registration Systems, Inc. and Joinder of
Deutsche Bank National Trust Company, As Trustee For Alliance Bancorp
Mortgage Backed Pass-Through Certificate Series 2007-OA1 (collectively
‘Defendants”), as to the Complaint of Plaintiff, Steven Mark Rosenberg
(“PlaintifP’), came on regularly for hearing on May 2, 2018, at 2:30 p.m. in
‘Courtroom “301” of the above-entitled Court, located at 21041 Burbank Blvd.,
Courtroom 301, Woodland Hills, California.

Having considered the papers submitted by the parties and having given the
parties the opportunity to present oral argument, the Court ORDERED as follows:

1. Defendants’ Motion for Judgment on the Pleadings is GRANTED
without leave to amend.

D Judgment on Plaintiff's Complaint shall be entered in favor of
Defendants, Ocwen Loan Servicing, LLC and Mortgage Electronic
Registration Systems, Inc. and Deutsche Bank National Trust
Company, As Trustee For Alliance Bancorp Mortgage Backed Pass-
Through Certificate Series 2007-OA1;

Br Plaintiff's entire action against Defendants is DISMISSED with
prejudice;

4, Plaintiff shall take nothing by the Complaint;

SE This is a final judgment.

HHH

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AMENDED JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR
JUDGMENT ON THE PLEADINGS

 

 

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 58 of 103 Page ID #:935

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Case 1:17-ap-01096-VK Doc 52. Filed 05/16/18 Entered 05/16/18 17:01:10 Desc
Main Document Page 3 of 4

PROOF OF SERVICE

I, Jovete Elguira, declare as follows:

Tam employed in the County of Orange, State of California. I am over the age of
eighteen (18) and not a party to the within action. My business address is 4665
MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence is
deposited with the United States Postal Service the same day in the ordinary course of
business. I am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one day after date of deposit for
railing in affidavit,

On May 16, 2018, I served the within AMENDED JUDGMENT FOLLOWING
DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS on all
interested parties in this action as follows:

[X] by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s)
addressed as follows:

[SEE ATTACHED SERVICE LIST]

[X] (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on this
date following ordinary business practices.

[ ] (@Y FEDERAL EXPRESS OVERNIGHT- NEXT DAY DELIVERY) I placed true
and correct copies thereof enclosed in a package designated by Federal Express
Overnight with the delivery fees provided for.

[X]  (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to the
office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). “A Notice of Electronic Filing
(NEF) is generated automatically by the ECF system upon completion of an
electronic filing. The NEF, when e-mailed to the e-mail address of record in the
case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
copy of the NEF shall be attached to any document served in the traditional manner

upon any party appearing pro se.”

[X] (Federal) I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on May 16, 2018, at Newport Beach, California.
Ve La Rx So Cy ARQ
Joy vide Elguira ( /

1
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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 59 of 103 Page ID #:936

Case 1:17-ap-01096-VK Doc52_ Filed 05/16/18 Entered 05/16/18 17:01:10 Desc
Main Document Page 4 of 4

ATTACHED SERVICE LIST

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93 || U.S. Trustee

24 || Judge Victoria S. Kaufman

45 |}U.S. Bankruptcy Court — Central District
(San Fernando Valley)

26 1121041 Burbank Blvd.

97 || Woodland Hills, CA 91367-6603

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1 || STEVEN MARK ROSENBERG FILED
> || 106% Judge John Aiso St. #225
Los Angeles, CA 90012 JUN 11 2018
3 |} 310-971-5037
In Pro Per a aig or Sarena

 

 

 

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UNITED STATES BANKRUPTCY COURT
: CENTRAL DISTRICT OF CALIFORNIA/San Fernando Valley

)

9 ; E )
Inre: STEVEN MARK ROSENBERG, ) po nkruptcy Case No. 1:17-bk-11748-VK

 

10 || Debtor. ) Chapter 7
)
11 )
12 |[Inre: STEVEN MARK ROSENBERG } Adversary Case No. 1:1'7-ap-01090-VK
13 _ ) NOTICE OF MOTION AND MOTION
Plaintiff )

y TO ALTER OR AMEND JUDGMENT,
) MEMORANDUM OF POINTS AND

ALLIANCE BANCORP, INC, (Estate), ) AUTHORITIES.
16 | MORTGAGE ELECTRONIC a

., ||REGISTRATION SYSTEMS, INC., ) Judge Victoria S. Kaufman
OCWEN LOAN SERVICING, ONE jy,

‘8 || WEST BANK, DUETSCHE BANK) (SaUili.

19 || NATIONAL TRUST COMPANY, AS. ) Pate:

TRUSTEE FOR ALLIANCE ama

BANCORP MORTGAGE BACKED _ ) ©

21 || PASS-THROUGH CERTIFICATE
SERIES 2007-OAl AND DOES 1
THROUGH 25, INCLUSIVE,

14 vs.

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54 || Defendants

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36 PLEASE TAKE NOTICE that on __yat M. in Courtroom of the

27 above-entitled Court located at 21041 Burbank Blvd, Woodland Hills, CA 91367,

28 |) PLAINTIFF will move this Court for an order altering or amending the judgment entered on May
Page 1

NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
AUTHORITIES.

 

 

 

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14, 2018 on the grounds that BASED ON A CLEAR ERROR AND IS MANIFESTLY UNJUST;
and said grounds have resulted in a miscarriage of justice if this motion is not granted as more fully
set forth in the memorandum of points and authorities attached thereto, filed and served concurrently
herewith and incorporated herein by reference.

This motion is made pursuant to Federal Rule of Civil Procedure 59(e) (“Rule 59”) and
shall be based upon this notice and the attached memorandum of points and authorities and the
complete files and records of this action, and such other and further oral and documentary evidence as

may be presented at the hearing on this motion.

Dated June 11. 2018 Dhovin. rode Brn planer
In Pro Per CU
Steven Mark Rosenberg

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Page 2

 

NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
AUTHORITIES.

 

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Case 1:17-ap-01096-VK Doc58 Filed 06/11/18 Entered 06/12/18 13:58:45 Desc

Main Document Page 3 of 16

STEVEN MARK ROSENBERG
106 % Judge John Aiso St. #225
Los Angeles, CA 90012
310-971-5037

In Pro Per

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA/San Fernando Valley

)

; N MARK ROSENBERG, ?
a io ) Bankruptcy Case No. 1:17-bk-11748-VK

Chapter 7

 

)
Inte. STEVEN MARK ROSENBERG Adversary Case No. 1:17-ap-01096-VK

Plaintiff NOTICE OF MOTION AND MOTION
Vs y TO ALTER OR AMEND JUDGMENT,

) MEMORANDUM OF POINTS AND

ALLIANCE BANCORP, INC, (Estate), ) AUTHORITIES.
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
OCWEN LOAN SERVICING, ONE

)
) Judge Victoria S. Kaufman
)

) Piss
WEST BANK, DUETSCHE BANK _) ne
NATIONAL TRUST COMPANY, AS ) ——

TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED _ )
PASS-THROUGH CERTIFICATE +)
SERIES 2007-OAl AND DOES 1 )
THROUGH 25, INCLUSIVE, )

Crtrm:

Defendants

MOTION TO ALTER OR AMEND JUDGMENT

The Plaintiff, Steven Rosenberg respectfully moves the Court, pursuant to Federal

Rule of Civil Procedure 59(e), to alter or amend its Judgment dated 05/014/2018

 

- Page |
NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
AUTHORITIES.

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 63 0f 103 Page ID #:940

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|Probate Code which would deny the defendants the right to rem. The Court has

lalso violated the legal maxim of fraud vitiates everything and the fact that the

\|the wrongful non judicial foreclosure of the Estate property situated at 15814

|challenge the assignments as he could not prove his claims that the assignments

 

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allowing the Defendant's Motion for Judgment on the Pleadings without allowing
the Plaintiff an opportunity to amend. The judgment requires to be amended on
the ground that the Court has allowed the Defendant’s Motion for judgment on the
Pleadings on the misbelief that the foreclosure of the property involved is done by
means of a judicial foreclosure. However, in the instant case, there is no case ol
judicial foreclosure and the case regard to process of non- judicial foreclosure,

Similarly, the Court has not considered Rule 17 read with Section 9850 of the

defendants in the instant case have not adduced any evidence to prove themselves
as legitimate and secured creditors of the Plaintiff herein.
Therefore, it is necessary that the order of the Court be altered or amended in

order to clear error of law and prevent manifest injustice.

A.
STATEMENT OF THE CASE
The Plaintiff had filed the adversary proceeding in November 27 , 2017 to challenge

Septo Street, North Hills, California 91343. It is in this very adversary proceeding
that the Defendants had filed the motion for judgment on pleadings to determine
the case on a question of law, claiming insufficiency of claims and pleadings by the
Plaintiff in the adversary proceeding.On May 14th , 2018, the Court entered the
Order motion for judgment on pleadings filed by the Defendants among other

grounds, one among them being that the Plaintiff did not have the legal standing to

of the Deed of Trust with regard to Estate Property located at 15814 Septo Street,
North Hills, California 91343 (hereinafter referred to as ‘Estate Property’) were void
and on the misbelief that the foreclosure proceedings were based that of a judicial
foreclosure. This motion to amend is being filed on the ground that the said case is

challenging assignments in a case of non-judicial foreclosure proceedings.

 

 

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Page 2
NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
AUTHORITIES.

 

 

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B
2 °
3 STANDARD OF REVIEW
; Any motion that challenges the correctness of a court’s final judgment order
is deemed a motion to alter or amend the judgment pursuant to Federal Rule 59(e).
5

Bass v. United States Dep’t of Agriculture, 211 F.3d 959, 962 (St Cir. 2000) (citing
Harcon Barge Co., Inc, v. D&G! Boat Rentals, 784 F.2d 665, 667 (5 Cir. 1986) (en
banc}). Such a motion should be granted if there is an intervening change in
controlling law; if new evidence, previously unavailable and materially affecting the

? |ljudgment, becomes available; or if it is necessary to grant the motion to correct a
10 ||clear error of law or prevent manifest injustice: Atkins v. Marathon LeTourncau
11 ||Co., 130 F.R.D. 625, 626 (S.D. Miss. 1990); see alsoWaltman v. Internationa! Paper
12 ||Co., 875 F.2d 468, 473 (St Cir. 1989).

13 Cc.
7 ARGUMENT
15
I,
7 THE JUDGEMENT SHOULD BE ALTERED BECAUSE IT
M CONFLICTS WITH THE ORDER OF THE COURT OF APPEAL
i OF THE STATE OF CALIFORNIA WHICH SUPPORTS THE CLAIM
19 OF THE PLAINTIFF TO CHALLENGE THE ASSIGNMENTS
20
21 The Court has passed the order without considering the difference between a

22 ||judicial foreclosure and a non-judicial foreclosure. Judicial foreclosure is when the
53 ||mortgage or deed of trust does not contain a power-of-sale clause or if, for other

reasons, the note holder determines that a non-judicial foreclosure is not

24
35 advisable, it can proceed against the borrower in a judicial foreclosure. As is
implied in the procedures name, this type of foreclosure involves the filing of a
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lawsuit against the borrower alleging the original debt, the default on the part of
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the borrower, and a “prayer” that order be issued requiring the sale of the real

estate for the benefit of the lender.

A non-judicial foreclosure is when the deed of trust securing the loan
transaction contains a “power-of-sale” clause, Under the power of that clause, the
trustee may — at the request of the owner of the note and deed of trust, and after a
default by the borrower - sell the real estate to pay off the balance of the loan.
Usually, the default is a failure to pay the monthly installments due under the
terms of the note that is secured by the deed of trust. Default can occur due to
other circumstances, however. Ordinarily, if the borrower has failed to pay
designated taxes or has failed to insure the property that constitutes default and

could result in a non-judicial foreclosure.

The Court has in the instant case posted to docket [doc 41] and
incorporated herein page reference in its entirety on Page 8 , Paragraph # 8
erroneously stated that the Defendants in the instant case have initiated a process
of judicial foreclosure with regard to the estate property in the case. Quoted
directly below:

"Plaintiff asserts are in the process of proceeding with a judicial foreclosure

 

(emphasis added) against the property”

The procedure for a judicial and non-judicial foreclosure can be clearly
distinguished. The Court in the instant case has not considered the fact that in a
case of non-judicial foreclosure the borrower has interest in challenging the
assignments of the Deed of Trust. The same has been held in the case of Yvanova
vy, New Century Mortgage Corp, Case No. S$218973 (Cal. Sup. Ct. February 18,
2016), “The Supreme Court held that a home loan borrower who has suffered al
non-judicial foreclosure has standing to sue for wrongful foreclosure based on an

allegedly void assignment even though she was in default on the loan and was not

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NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
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has the right to challenge assignments and allege that the assignments are void.

 

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a party to the challenged assignment because an allegation that the assignment

was void will support an action for wrongful foreclosure”.

The same has been further reiterated in the case of Ron Hacker v. Homeward

Residential Inc, (B278537) Court of Appeal, California reaffirmed that a borrower

II.
THE JUDGMENT SHOULD BE ALTERED AS IT IS IN CONFLICT
WITH RULE 17 OF FRCP
The Plaintiff herein is the administrator as Rule 17 of FRCP or of the estate|
property and therefore has all rights to initiate cases in interest of the estate
property of which he is an administrator.
The Plaintiff herein is competent to file the suit under Rule 17 FRCP in the
capacity of an “administrator” and hence authorized by statute.
The relevant portion of Rule 17 is as follows:
“Rule 17- Plaintiff and Defendant; Capacity; Public Officers
(a) Real Party in Interest.
(1) Designation in General. An action must be prosecuted in the
name of the real party in interest. The following may sue in theiy
own names without joining the person for whose benefit the
action is brought:
(A) an executor;
(B) an administrator;
(C) a guardian;
(D) a bailee;
(E) a trustee of an express trust;
(F) a party with whom or in whose name a contract has been
made for another's benefit; and

(G) a party authorized by statute.

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NOTICE OF MOTION AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND
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The said Rule 17 of FRCP determines the proper plaintiff and defendant in a
suit. Herein, the plaintiff has filed the suit purely in the capacity of an
administrator. Administrator is identified as a party competent to file suit on
behalf of the deceased in the interest of the property as per FRCP Rule 17(B). This
is one among the exceptions to FRCP Rule 17(1) wherein only the real party in

interest is authorized to identified as a proper party to sue.

It is well settled that a "real party in interest" need not necessarily the
beneficially interested party (See C. CLARK, HANDBOOK OF THE LAW OF CODE
PLEADING § 21 at 160). Thus, for example, when the substantive law gives the
exclusive right to assert and control a claim to an executor or a trustee who has no
beneficial interest, the executor or trustee is the only "real party in interest." (See
3A J. MOORE & J. LUCAS, MOORE'S FEDERAL PRACTICE 117.12 (2d ed. 1989)
(hereinafter MOORE's FEDERAL PRACTICE)).

Hence, in the instant matter the plaintiff even if is not considered as as
beneficiary or real party in interest is competent to file the suit in the capacity of
an Administrator. In other words the Plaintiff is not personally liable for any
charges on the property or he is not a beneficiary in the property. The Plaintiff is
only bestowed with the responsibility to administer the property in the best
interest. Hence, the suit is filed as an administrator to prevent illegal foreclosure ol
the property by the Defendants fraudulently. The Plaintiff is not a beneficiary;
herein and is not personally liable for any charges on the property if any. In other
words, the Defendants have absolutely no right in Personam over the Plaintiff or

the estate property.

Also by filing this suit vide FRCP Rule 17(B) the Plaintiff is not admitting to
the loan instead he is only delivering his responsibility as an administrator of the
property so as to prevent such ilegal and fraudulent foreclosure.In addition, the

California Probate Code, mandates the acceptance of the debts if any before the

 

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|to the second remedy after the statute has expired on that remedy."

 

 

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court in a clear and convincing mode to execute in rem right over the estate. The
Plaintiff herein has not accepted any loan/debt over the property at any lime
during the course of the proceedings. Hence, in the instant matter the Defendants

neither have a right over the property in rem nor sue the plaintiff in Personam.

Il.
THE JUDGMENT SHOULD BE ALTERED AS IT NEGLECTED THE
PRINCIPLE OF EQUITABLE TOLLING AND FRAUD VITIATES EVERYTHING

The Court has recognized. and does not deny the existence of fraud in the
instant case. However, the Court has denied the claim of fraud alleged by the
Plaintiff against the defendants only on the ground that it has been barred by;
limitation. The Court in Pacer Docket 41 stated on Page No 7 of 13 , paragraph #
3, (BE. Statute of Limitations, stated the principle of equitable tolling as,

““Rquitable tolling applies to situations in which a party has several legal]

remedies, pursues one such remedy reasonably and in good faith, and then turns

The equitable tolling principle allows a court to suspend the “clock” of al
statutorily mandated time limitation in the interests of equity. The Supreme Court
further states that this equitable doctrine is read into every federal statute of

limitation. (See Holmberg v. Armbrecht, 327 U.S. 392, 397 (1946)).

The doctrine has been used by the court to ensure that an individual does

not escape justice simply because of a lapse in time.

The Court in its judgment failed to recognize that the claims of the Plaintiff
in the adversary pleading before this Court are not time barred and require the

application of the principle of equitable tolling.

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| with regard to the alleged DoT against the Defendants was initiated in November,

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The assertion in the order that the Plaintiff's claims are time barred is false
and not supported by law. The forgery with regard to the signature of Isadore
Rosenberg creating the alleged Deed of Trust (hereinafter referred to as ‘DoT’ on
the Estate Property located at 15814 Septo Street, North Hills, California 91343
(hereinafter referred to as ‘Estate Property’) came to be known to the Plaintiff only
after the death of the Plaintiff's father’s i.e. Isadore Rosenberg’s death in 2008. In|
pursuance to the same, the Plaintiff on realizing that the alleged DoT was not
executed by his father, Isadore Rosenberg had filed a petition as per Section 850 oi
the Probate Code as administrator and trustee of the estate of Isadore Rosenberg
to determine title to real property where someone other than the decedent o7
trustor claims to have title to or an interest in the property before the Superior
Court of Los Angeles County, and for forgery as the signature of the key document
was forged by a unscrupulous criminal caregiver of Isadore Rosenberg. However,
in 2015, the case was dismissed with prejudice to which the Plaintiff had filed an
appeal which ordered the Court to provide the Plaintiff dismissal of case without
prejudice. The Plaintiff then filed the Adversary proceeding in November, 2017 as a

continuation to the litigation that was initiated in 2009.

The Plaintiff had made the first allegation with regard to forgery and fraud
against the Defendants in 2009 which was well within the time period of initiating
a case. Similarly, the limitation of 3 years, with regard to initiating fresh
proceedings would start from the day on which the Plaintiff's Probate case was

dismissed without prejudice. This adversary proceeding alleging forgery and fraud

2017 which is well within the time period stipulated and the adversary proceeding
can be considered as a continuation to the proceedings initiated by the Plaintiff
against the Defendants based on the forgery and fraud involved in the alleged DoT
through which the Defendants are attempting to assert rights on the property to
which the Plaintiff alone is legally entitled.

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Thus, applying the principle of equitable tolling the Plaintiff had initially
pursued the legal remedy available by filing a probate case in good faith, however
due to the statutory period of 5 years limitation to finish the case, the Plaintiff then
resorted to second remedy available by initiating the adversary proceeding.
However, the allegation of fraud was first initiated well within the time span of 3
years and the judgment is required to be altered on the ground that there was no

proper application of the principle of equitable tolling.

In the aforesaid circumstances the Court also failed to recognize the
principle that fraud vitiates everything. The aspect of fraud destroys and vitiates
any right that has been created as a result of such fraudulent act. The Supreme
Court of the Untied States in United States v. Throckmorton while discussing the
principle of ‘fraud vitiates everything’ held that,

“There is no question of the general doctrine that fraud vitiates the most

solemn contracts, documents, and even judgments.”

In the instant case, there has been no claim on the side of the Defendants
that they have not committed fraud, the only allegation by the defendants which
then became part of the order is that the allegation of forgery and fraud by the
Plaintiff is barred by limitation. However, as stated above if the rule of equitable
tolling is considered then there is a definite case of fraud and the non-
consideration of the same in the order is blatant and apparent error on the face of
it and is required to be amended or altered.

Iv.
THE JUDGMENT SHOULD BE ALTERED AS DEFENDANTS DO
NOT EXPRESSLY DENY FRAUD COMMITTED

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| S.E.2d 494 (1974).

 

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The judgment does not consider the aspect that even if the alleged facts were
considered not to be admitted by the Defendants on the filing of the Motion for
judgment on pleadings, the very fact that the Defendants in the instant motion for
Judgment have not denied such forging or fraudulent activities committed by them
anywhere in the motion. The only claim by the Defendants is with regard to the
time period within which the forgery and fraud committed should have been
alleged and the specificity with regard to such allegation of forgery and fraud. This
itself proves that the Defendants have impliedly admitted to the facts and
allegations of fraud alleged by the Plaintiff in the Adversary proceeding.

Whereas, the Plaintiff has clear and unambiguous report of the handwriting Expert
and further evidences to prove the forgery with regard to the signature of Isadore

Rosenberg in the alleged DoT.

The judgment needs to be altered on the ground that the Court has not
considered the aspect there is clear case of fraud and in such circumstances there
arises an obligation on the side of the Court to report the same to the Law
enforcement agency. The judgment is required to be altered on the ground that the
Court cannot ignore the admissions of fraud committed by the defendants and the
basic principle of the motion for judgment on the pleadings is the proper procedure
when all of the material allegations of fact are admitted in the pleadings and only

questions of law remain as laid down in Ragsdale v. Kennedy, 286_N.C. 130, 209

Vv.
THE JUDGMENT SHOULD BE ALTERED AS THE DEFENDANTS
ARE NO LEGITIMATE CREDITORS

The judgment is required to be altered because as per Docket 41 as found on

page No 7, paragraph No. 5 of the judgment the Court states that the bankruptcy

 

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|amended on the ground that the judgment omitted to assert on as to why the

 

 

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discharge of the Plaintiff has already occurred. The Court failed to recognize the
basic fact that the adversary proceeding is initiated by the Plaintiff in order to
ensure that legitimate creditors claims are paid off. However, in the instant case
the only claim of the plaintiff lies in the fact that the defendants have only made
mere assertions with regard to the fact that they are secured creditors but have not

proved the same.

The judgment does not record the fact that the case did not follow Rule 2004
of Federal Rules of Bankruptcy Procedure, which deals with the provisions of

examination of evidences and witnesses.

The Defendants have not in any instance as mentioned above denied the
claim of the Plaintiff that the transaction of the Deed of trust has been created with
the aspects and elements of fraud and forgery and their claim only rests in the fact
that the allegation and claim of fraud and forgery stated by the Plaintiff is barred
by limitation. In such circumstances it is highly necessary that the Court should
have asked the defendants for proof to support their claim of being secured)
creditors and thereby being legitimate creditors who would right in Personam as
well as right in rem with regard to the proceeds of the Estate property and could
also make the Plaintiff personally liable to pay off the debt regarding the Dol

created on the Estate Property. Thus, the judgment is required to be altered and

defendants should be considered as secured creditors who shall have right over the

proceeds of the Estate property.

CONCLUSION

For the reasons stated above, the Plaintiff, Steven Rosenberg respectfully

moves the Court to

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1. alter or amend the Judgment entered May 14, 2018, and instead deny
Defendant’s Motion for judgment on Pleadings.
2. amend or alter the Judgment to correct the error with regard to the process
of foreclosure initiated by the defendants from that of judicial foreclosure to
non — judicial foreclosure as found on Docket 41- page 8 of 13 / Paragraph 2.

3. In alternative Dismiss the adversary proceeding without prejudice.

Dated this the 11th day of June, 2018

Respectfully submitted,

Steven Mark Rosenberg
Plaintiff in Pro Per

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
106 1/2 Judge John Aiso St.
Los Angeles, CA 90012

A true and correct copy of the foregaing document entitled (specify):
NOTICE OF MOTION-AND MOTION TO ALTER OR AMEND JUDGMENT; MEMORANDUM OF POINTS AND.
AUTHORITIES

 

 

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

4, TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)

, |checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

[_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _ 06/11/2018 _ | served the following persons and/or entities at the last known addresses in this bankruptcy

case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the

judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST

Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
foreach person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmlssion and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed.

CL] Service tnformation continued on attached page

| declare under penalty of perjury under the laws of the United States that the foreg PIR correct.

06/11/2018 CARRIE FELICITAS \
Date Printed Name Signature’

 

This form is mandatory. It has been approved for use by the United Stales Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE

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United States Trustee (SV)
16 |]915 Wilshire Blvd_; Suite 1850
17 ||Los Angeles, CA 90017
(213) 894-6811
18 || U.S. Trustee
19
Judge Victoria S$. Kaufman
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Steven Mark Rosenberg,

106 Judge John Aiso Street #225
Los Angeles, CA 90012

(310) 971-5037
Founder@PuttingElders | st.org
In Pro Per

  

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Deputy Clerk

  
 

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA/SAN FERNANDO VALLEY

In re: STEVEN MARK ROSENBERG )
) Bankruptcy Case No. 1:17-bk-11748-VK

Debtor Chapter 7

 

)
) Adversary Case No. 1:17-ap-01096-VK
)

PLAINTIEF'S DECLARATION IN

Plaintiff ) SUPPORT OF PLAINTIFF’S MOTION
) TO ALTER OR AMEND JUDGMENT

)
Vs. )

) Judge Victoria Kaufman

In re: Steven Mark Rosenberg,

ALLIANCE BANCORP, ING, (Estate)
MORTGAGE ELECTRONIC ) Hearing
REGISTRATION SYSTEMS, INC., _ j Date:
OCWEN LOAN SERVICING, ONE _ ) Time:
WEST BANK, DEUTSCHE BANK __) Courtroom:
NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE
BANCORP MORTGAGE BACKED
PASS-THROUGH CERTIFICATE
SERIES 2007-OA1 AND DOES 1
THROUGH 25, INCLUSIVE,

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PLAINTIFF'S DECLARATION IN SUPPORT OF PLAINTIFF'S MOTION TO ALTER OR AMEND JUDGEMENT

 

 

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DECLARATION OF STEVEN MARK ROSENBERG

I, Steven Mark Rosenberg, declare and state as follows:

1, I am the Plaintiff in the Motion to Alter or Amend Judgment,
that was filed in pursuance to Rule 59(e) of Federal Rule of Civil Procedure.
Unless otherwise indicated, the facts set forth herein are personally known by me
to be true, and if called as a witness I could and would competently testify
thereto.

2. | submit this declaration in support of my Rule 59(e) FRCP,
Motion to Alter or Amend the judgment that was entered into on 05 /14/2018, AS
Docket Number 58, allowing the Motion for judgment on pleadings by the
Defendants therein.

3. lama graduate of University of Southern California (USC) with
a Master of Science Degree (1989) and a second degree from USC earning 4
MRED (Master of Real Estate Development) obtained in 2006. This educational
obtainment, has I am finding providing me, with transferable writing and
resource skills useful to this protracted litigation. In addition, for approximately
six months, I was employed a Real Estate Title Examiner Associate in the City
of Los Angeles, Department of Engineering, Real Estate Division, on or around the
period of 1993.

4. I hereby declare that, the entire foreclosure proceedings that
have been initiated against the estate property are non-judicial foreclosure
proceedings and the observation of the Court to the contrary that the foreclosure
proceedings are one which belong to judicial foreclosure proceedings is a clerical]
error while entering the judgment dated 05/14/2018 and carrying over to the
Amended Judgement of June 9, 2018 as Docket Number 56; ( Indicated in|
Pacer as: Order Amended Judgement following Defendants Motion for Judgment
on the Pleadings, signed on 6/7/18) .

5. I declare that FRCP Rule 17(a)(1)(B) lays down an exception for
the general rule that an action shall be prosecuted in the name of the real party

in interest. The particular rule empowers an ‘administrator’ of the property to

Page 2
PLAINTIFF'S DECLARATION IN SUPPORT OF PLAINTIFF'S MOTION TO ALTER OR AMEND JUDGEMENT

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take action for the property though not being a beneficiary. In my case against
the Defendants herein, as stated in my motion to alter or amend judgement, |
occupy the position of an administrator of the Estate property. Hence though not
being a beneficiary/real party in interest 1 am competent to initiate the adversary
proceeding irrespective of my personal capacity. Accordingly, as per FRCP Rule
17, I am not personally liable for any charges on the estate property if any, as
the said Motion is filed only in the capacity of an administrator and noi
beneficiary. Thus, the Defendants have absolutely no right in Personam over
myself or the estate property.

6. I hereby declare that the doctrine of equitable tolling as observed
by the Supreme Court in Holmberg v. Armbrecht, 347 U.S 392, 397 (1946) is
applicable in present instance and the equitable doctrine is applicable to every
federal statute of limitation. Therefore as such the present adversary proceeding
initiated by undersigned, before this Honorable Court, is a continuation of the
probate code proceedings and falls within the spectrum of the doctrine ol
equitable tolling. The Probate Action was found to be dismissed under Operation
of Law, i.e., California Code of Civil Procedure § 583.310.

7. I hereby declare that the widely accepted principle of ‘fraud
vitiates everything’, is applicable to my case against the defendants herein. The
Defendants cannot enforce any right, if any created upon the Estate Property as
per the Deed of Trust document and subsequent trailing recorded filings have
been created by fraud and complicit forgery by the Defendants.

8. I hereby declare that, even if the aspect of fraud is not
considered, the Defendants could not assert legitimately based on the falsified)
chain of title documentation, their "contested" rights in the estate property as
bona fide secured creditors and therefore, they are not entitled to the proceeds
that arise out of the estate property. In light of the developed fact pattern, it will
be unjust enrichment for the opposing side.

9. I hereby declare that I have made six (6) documented attempts
to set a hearing date with regard to the present Motion to Alter or Amend

Judgment. One of the latest due diligence attempts by myself with regard to

 

 

 

 

 

 

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seeking the obtaining of a hearing date for the motion to amend or alter
judgment was a letter sent via Overnight Federal Express to the Court Clerk on
August 15, 2018 and delivered on August 16, 2018 with Proof of signing
available for inspection.
I declare under the penalty of perjury under the laws of the State oj
California that the foregoing is true and correct.
Executed this 5th day of September 2018 at@&_fxyekS , California

Steven Mark Rosenberg

  

 

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PLAINTIFE'S DECLARATION [IN SUPPORT OF PLAINTIFF'S MOTION TO ALTER OR AMEND JUDGEMENT

 

 

 

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
106 1/2 Judge John Aiso St. Los Angeles, CA 90012

A true and correct copy of the foregoing document entitled (specify): _ — :
PLAINTIFF'S DECLARATION IN SUPPORT DOF PLAINTIFF'S MOTION TO ALTER OR AMEND JUDGMENT

 

 

 

Will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF}: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)

| checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 

C] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) _ 09/05/2018 . | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the

Judge will be completed no later than 24 hours after the document is filed.

Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state mathod
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 

CL} Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foreg phy POs
09/05/2018 CARRIE FELICITAS

Date Printed Name Signature \]

 

This form Is mandatory. It has been approved for use by the United States Bankruptcy Court for the Ceritral District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
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1 ATTACHED SERVICE LIST

3 ||MERS (Mortgage Electronic Registration Systems, Inc.)
|| Attn: T, Robert Finlay, Partner

|| Cc: Nicole Dunn, Esq.

4665 MacArthur Court, Suite 200

Newport Beach, CA 92660

|| Ocwen Loan Servicing, Inc.

7 || c/o T. Robert Finlay, Partner

Ce: Nicole Dunn, Esq.

4665 MacArthur Court, Suite 200
9 || Newport Beach, CA 92660

10 |] Amy L. Goldman (TR)

633 W. 5" Street, Suite 4000
Los Angeles, CA 90071

12 || 213-250-1800

Trustee

11

13

United States Trustee (SV)
915 Wilshire Blvd., Suite 1850
15 ||Los Angeles, CA 90017
213-894-6811

16 |/U.S. Trustee

17

14

Judge Victoria S. Kaufman

ig || U.S. Bankruptcy Court- Central District
(San Fernando Valley)

19 ||21041 Burbank Blvd.

i Woodland Hills, CA 91367-6603

21 || Deutsche Bank National Trust in

Alliance Bancorp Trust 2007 OA-1

22 || c/o Robert Garrett of Law Firm of Garrett & Tully
225 S. Lake , Suite 1400

Pasadena, CA 91101

24 :

Alliance Bancorp, Inc.

25 ||815 Commerce Dr.

Oak Brook, IL 60523

23

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PLAINTIFF'S DECLARATION IN SUPPORT OF PLAINTIFF’S MOTION TO ALTER OR AMEND JUDGMENT

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
--o00--
In Re: Case No. 1:17-bk-11748-VK

STEVEN MARK ROSENBERG, Chapter 7

 

Debtor. Woodland Hills, California
Wednesday, May 2, 2018
2:30 p.m.
ROSENBERG,
Plaintiff,
vs. Adv. No. 1:17-ap-01096-VK

DEUTSCHE BANK NATIONAL TRUST
COMPANY, AS TRUSTEE,

Defendant.

DEFENDANT'S MOTION FOR
JUDGMENT ON THE PLEADINGS

TRANSCRIPT OF PROCEEDINGS
BEFORE THE HONORABLE VICTORIA KAUFMAN
UNITED STATES BANKRUPTCY JUDGE

APPEARANCES :

For the Debtor: STEVEN M. ROSENBERG
106 1/2 Judge John Aiso Street
Unit 225

Los Angeles, California 90012
(310) 971-5037

Proceedings recorded by electronic sound recording;
transcript produced by transcription service.

 

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10 United States Bankruptcy Court
21041 Burbank Boulevard
11 Woodland Hills, California
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WOODLAND HILLS, CALIFORNIA WEDNESDAY, MAY 2, 2018 2:30 P.M.
--000-~-
(Call to order of the Court.)

THE COURT: So then we also had the ruling on
Defendant's motion for judgment on the pleadings. This
tentative was initially posted in mid April. Then we had,
you know, the hearing, and Mr. Rosenberg said the Court
needed to assess his -- whether the Court should appoint
counsel for him before the Court ruled on this motion
because it was -- the tentative ruling was against his
position. So now we've ruled on that motion and -~- for
appointment of counsel, and we have a tentative to grant the
motion for judgment on the pleadings.

MR. ROSENBERG: May I respond?

THE COURT: Yes.

MR. ROSENBERG: Of course, as I said before, I

don't want to sound redundant. I appreciate the analysis
that the Court's done. I'm going to outline five -- five
areas -- four areas -- four areas that I think the Court

should be cognitive of, and, you know, I realize that —-
that the tentative, you know, is just that, but, you know,
the majority does stay. So -- so it is a longshot that I'm
here in oral argument, and also I'd be remiss -- maybe a
side comment, but I certainly appreciate that I'm getting

the opportunity to argue oral argument because there's I

 

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1] believe Rule 78 where the Honorable Court could have just

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said "No, we're just going to go on zhe motions," and that's
3l it. So I do appreciate that I do have this one forum oral
4| opportunity to embellish what was submitted.

5 The Jolly case, Jolly v. John Eli, ~~ Eli -- Jolly
6lv. Bli Lilly, 44 Cal.3d, 1103. It's found in the second to
7|the last page of Deutsche Bank’s support for the motion. 1f
8| looked at that case, and it's interesting because there's

9] one key sentence that just popped out at me on the second
10| page. It said -- and the holding in Jolly was, yeah, once
11|-- well, yeah, forgive me on that informal preface. The

12| holding in Jolly essentially said once discovery happened
13| and Plaintiffs knew what was going on, you know, that was
14/ the time of the -- the clock ticking on statute of

15| limitations, and you look at Jolly case, and it has a

16| sentence that just popped out at me, and it said -- in the
17| Jolly case they have other cases that support their

18| contention, and it says:

19 "Tn all the above cites" -—

20 And I'm reading verbatim for purposes here. I'm

21| reading verbatim from page seven of the case:

 

 

22 "In all of the above cited cases,

23 the Court recognized that the Rule may

24 work in harsh result."

25 It’s a harsh result for me right now. And it also
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goes on, "This prohibition against revival of claims" --
which the other side is essentially saying that I'm
essentially doing under the -- going back to 2009, revival
of claims. So -~ so it does have a nexus here. So this
sentence goes:

"The prohibition against revival of

claims can obviously create a hardship

on such unfortunate Plaintiffs (and a

windfall to fortunate Defendants) ."

When I read that, I said, yeah, yeah. The -- the
Defendants, as it stands now, barring any other actions I do
or ~- or any persuasiveness I can get her Honor, the Court
to change some of her direction on the tentative, yeah, they
are getting a windfall to the fortunate Defendants. I think
that bears worth repeating again.

"This prohibition against revival

of claims can obviously create a

hardship on such unfortunate Plaintiffs

 

(and a windfall to fortunate

Defendants) ."

And, again, this is from Jolly. It so resonates
with me. It's case law. So in the hierarchy of cases -~ I
mean, in the hierarchy of consideration, you know, it's not
-- it's not Supreme Court. It's not even statutory. It's
just a case. The opposing side used that one sole case to

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support their -- their statute of limitations argument, and
they were right to -- to pull it out. When I read it, you
know, it just resonated some of the -- the observations that
the -- the Court made. They went ahead and ruled in favor

of Eli, the pharmaceutical company, you know, but it just --

it just struck a cord.

So I think the segue to this, so I shared that --
bear with me. Yeah. The segue to that, the Honorable Court
in the last hearing broached the subject, if you will, and
I'll paraphrase it -- maybe it's almost an exact quote. You
put to the other side "Have you considered mediation?" And
so I'm spring boarding off of that -- that narrative off of

the Jolly case where it's unfortunate to Plaintiffs and it's

-- it's a windfall to Defendants. So that is what it is.
I'm looking to the Court in -- in almost a mercy type
fashion where last time you did -- your Honor asked the

other side about mediation, they adamantly said no. I
walked away from the table, from the deal in 2014. I wish I
could turn back the clock. I only wanted $2,000 more for
moving expenses, and this has just mushroomed and
mushroomed, and there's hard feelings and this and that.

So the mediation program, it piqued my curiosity,
and I'm kind of inquisitive. So I have researched, and I've

come up with third amended general order number 95-01. It

was filed in this Court on January 5, 2010. What it does is

 

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this memorializes this District's -- this District's
mediation program. Under 28 U.S.C. Section 652(a) overall,
it mandates -- and that's a strong word I know, but it
mandates all district courts across the land to have a
mediation program. This general order -- third amended
general order 95-01, is this District's response to 28
U.S.C. Section 652.

Now, this is where we get flooded with
information. We may not have been aware of it or it got --
it fell off of your -- your -- I'll get right to the point.
:I'm going to read verbatim. In the last hearing you had
involuntarily -- in a voluntary manner asked if the other
side was agreeable to mediation, and the response, again,
was no. But now, reading direct from the order that
established the mediation program for -- for this District,
under 5.2 on page four, assignment by judge:

"Matters may also be assigned by

order of the judge at a status

conference or other hearing. While

participation by the parties in the

mediation program is generally intended

to be voluntary, the judge acting sua

sponte" -- S-U-A, S-P-O-N-T-E -- or on

the request of a party may designate

specific matters for inclusion in the

 

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mediation program. The judge may do so
over the objection of the parties.”
And there's a case -- there's a case that says —~

THE COURT: You know, Mr. Rosenberg, the Court's

‘well aware of the fact that the Court can order parties to

mediation, and there are times the Court has done that. The
Court is not going to do that in this case. It doesn't seem
like it would be fruitful.

MR. ROSENBERG: I o-=

THE COURT: But that doesn't mean -- but that
doesn't mean that the parties can't decide to engage, you
know. I mean, you're always welcome, and they may decide to
engage in settlement with you, and there's a panel, as long
as you -- you now have a pending Chapter 13 case where
there's another opportunity to request mediation.

MR. ROSENBERG: I thought that -- I've already —~

THE COURT: So, you know, with respect to this
adversary proceeding, we are not going to delay the

resolution on the basis -- when you have a pending 13, on

i|the basis of, you know, the possibility of ordering parties

to mediate, especially when they already had engaged in that
at length.

MR. ROSENBERG: Okay. I oa

THE COURT: Not in this Court's program, but —~

MR. ROSENBERG: Yeah. I respect —-

 

 

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THE COURT: In the State Court.

MR. ROSENBERG: I respectfully just say I'd be
remiss if I --

THE COURT: Yeah, I know. I appreciate you
mentioning it just so we can articulate that we're not going
to order the parties to mediation in this instance.

MR. ROSENBERG: Just one -- if this one sentence
changes your mind, great. If not, fine also, but I'd be
remiss if I just didn't put it out as one last hail Mary if
you will to maybe get a different ruling, if you will,
ruling is that I talked to Susan Daugherty. She's the -~

THE COURT: Ah.

MR. ROSENBERG: -- program administrator.

THE COURT: Yeah.

MR. ROSENBERG: Ninety -- I'm sorry -- 57 percent
success rate in this Court's mediation program. So that
means close to six out of ten cases that are referred are --
are cases that don't clog up the ~- the docket. They
don't --

THE COURT: Well, this case isn't going to clog up
the docket because this case is going be done,

MR. ROSENBERG: No, well --

THE COURT: I mean, the Chapter 7? case is already
done, and this is just an adversary proceeding which is now

going to be done. So there's not going to be clogging in

 

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the Court’s docket.

MR. ROSENBERG: Again, I'm not trying to --

THE COURT: Not that we're trying to get rid of
it, I mean, without good reason, but we articulate in the
tentative why the judgment -- the motion for judgment on the
pleading should be granted.

MR. ROSENBERG: I don't -- I really -- I think at
the very first hearing in some dialogue I said I don't want
to be in an adversarial frame here and be viewed as a
trouble maker or --

THE COURT: No, we don't view you as a trouble
maker. We're just not going to order parties to mediation,
and we're going to rule.

MR. ROSENBERG: But I do want the Court,
respectfully, to be aware -- again, this is so strenuous on
me physically. I'm meeting -- not looking, you know, in a
pauperous state right now because it's so -- so arduous on
me, but I know I'm so much on the right side of the law on
this. Otherwise I wouldn't have persevered over the time
and time. There is Rule 60(e) with new discovered ~- I'm
paraphrasing it -- with new discovered evidence, errors or
mistakes. I have a one-year window.

THE COURT: Well, so maybe the -- maybe the
Plaintiff -- maybe the Defendants will agree that -- to

mediate with you. I'm just not going to order that.

 

 

 

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MR. ROSENBERG: Okay.

THE COURT: If you pursue an appeal, you file a
motion for, you know, under 60 -- Rule 60 or 59, I mean,
they can evaluate that as a choice that they have because we
have our mediation panel.

MR. ROSENBERG: This is the last comments on -- on
the motion for judgment on the pleadings. I'm very very
disappointed in the context of how the Court approached does
the borrower have the standing to challenge assignments, and
there's case law that was cited -- a friend helped me, and I
see like 160 cases that have gone against Uvanka (phonetic)
or the Supreme Court case. So there's a lot of federal
cases, and that's what's in the motion here whether the --
the denial that I don't really have a claim. What I'm going
on record now, and I'm going on record strongly is I cite in
my original pleading and in my reply Civil Code 292417,
292417. That's the Homeowner's Bill of Rights. It says
specifically lenders -- attorneys for lenders have a duty to
submit accurate documents into court, be it notice of
default, notice of sale, or assignments in this case.

The -- the -- the ruling is totally -- totally
Silent on the merits of that. And, again, I know I made
reference earlier to the hierarchy. This should trump the
-- the cases that were cited, and then the other thing that

was remiss for me -- and I don't know if it could have gone

 

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the other way if I cited it, but just as many cases -~- I
mean, just as many -- many statutes have a corollary or an
extra statute that dovetails with that, the original -- the
original statute, this one does too. That's Civil Code
2924-19. What that holds is that if the Court finds a
material violation with reckless or intentional or resulted
from willful misconduct by a mortgage servicer or mortgage
beneficiary or authorized agent, the Court may award the
borrower the greater of triple damages or statutory damages
of $50,000.

I'm getting screwed right now by the Court. I'm
getting screwed by the Court right now for the -- for -- for
not recognizing that their exhibits that they've presented
for judicial -- for judiciai notice are bogus under -- under
2924.17 that overrides their cases, and -- and now that I'm
going to -- unless I do other people mechanisms, I'm now
going to be forever precluded from -- from pursuing any
claim for 292419.

And let me share one last part of this. The
Freedom of Information Act I got from the FDIC that says --
paraphrase this -- Exhibit 8 in the original adversary
proceeding. Paraphrasing, we have to recreate title. It's
too expensive for us to do title reports. We need these
list of 20 people which one is John Dickerson, who's on the

March 17, 2017. It's the perfect nexus that this is a clear

 

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clear violation of this Homeowner's Bill of Rights. Today's
ruling just shuts me out of that. It's not a good -- good
-- good situation, and then what's even more egregious is I
just relooked at the FDIC reply, and it said John Dickerson
and Company, about 15 employees of One West, had until the
middle of 2016 to opt as power of attorneys for the FDIC.
John Dickerson acted on this in 2017. There are -- there
are rogue power of attorneys going on right now unbeknownst
to the FDIC or with the FDIC. But one way or another, just
as Justice Brandeis, sunlight is the best disinfectant.
Maybe I do get kicked to the curb here, but I am going to be
adamant. And I don't mean to sound threatening or anything,
but I think this is a public policy issue that there are
rogue power of attorney entities signing on behalf of the
FDIC without legitimate authority right now.

Thank you for your time.

THE COURT: Okay. Does the movant want to address
the tentative or anything Mr. Rosenberg raised?

MS. DUNN: This is Nicole Dunn for Ocwen and MERS.
We will submit on the tentative.

MR. ORTIZ: Same with Deutsche Bank, your Honor.

THE COURT: Okay. So the Court's going to grant
the motion for the reasons outlined in the tentative ruling.
If Deutsche would please submit the order. I think Deutsche

should do that, correct? Yes.

 

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MS. DUNN: No, actually it should be ——

THE COURT: Or Ocwen += movants, right.

MS. DUNN: Yes.

THE COURT: Right. So movants to submit it.
Okay.

MS. DUNN: Thank you.

THE COURT: Okay. And we'll post the ruling on
the docket. So please refer to that in the order.

MR. ROSENBERG: Your Honor?

THE COURT: Yes?

MR. ROSENBERG: I -- I covered a lot of grounds
here.

THE COURT: Mr. Rosenberg, we have other matters
on calendar today --

MR. ROSENBERG: This is --

THE COURT: -- and we've ruled.

MR. ROSENBERG: This --

THE COURT: So --

MR. ROSENBERG: This --

THE COURT: I mean, if you have other things you'd
like to articulate, I mean, you know --

MR. ROSENBERG: Three sentences. We're in the
American rule for legal fees. You just awarded legal fees
to the other side. I didn't see any statutory --

THE COURT: TI don't --

 

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MR. ROSENBERG: I'm going to have to file a third

bankruptcy just to get --~

THE COURT: Granting leave -- the motion ~-
MR. ROSENBERG: -- get that off.
THE COURT; Okay. All right. So -+ so we're done

with those matters. Moving on.

(Proceedings concluded.)

I certify that the foregoing is a correct
transcript from the electronic sound recording of the

proceedings in the above-entitled matter.

/s/Jordan Keilty 11/2/18
Transcriber Date

 

FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:

/s/L.L. Francisco
L.L. Francisco, President
Echo Reporting, Inc.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

q IRE STEVE} M RK R OSE} IB ER G DISTRICT COURT CASE NUMBER:
. 2:18-cv-10188-AG

DEBTOR(S)| BANKRUPTCY COURT CASE NUMBER:

 

1:17—bk-11748-VK

 

STEVEN MARK ROSENBERG
APPELLANT(S) | ADVERSARY CASE NUMBER:
Vv 1:17-ap-01096-VK
ALLIANCE BANCORP. INC.
APPELLEE(S). NOTICE REGARDING APPEAL

FROM BANKRUPTCY COURT

 

 

Because one of the parties has so requested, this appeal from the Bankruptcy Court will be heard in, and
determined by, the United States District Court, Central District of California. The District Court has assigned
to the appeal the case number shown above. Hereafter, this District Court case number must appear on all
documents filed in this appeal, along with the Bankruptcy Court case number(s) and adversary case number(s)
(Gf any) shown above.

The appeal has been assigned to United States District Judge Andrew J. Guilford '
whose initials appear at the end of this District Court case number. Be advised that pursuant to Local Rules
7.1-1 and 83-1.3.1 and Local Bankruptcy Rule 2.1, parties are required (1) to file a certification of interested
parties and (2) to notify the Court of any cases previously filed with the District Court that appear to be related
to this bankruptcy appeal.

Unless exempted by the Court’s local rules, all documents must be e-filed using the District Court’s
CM/ECF System. Unless otherwise ordered by the Court, pro se litigants shall continue to present all
documents to the Clerk for filing in paper format. Documents received by the Clerk from pro se litigants under
this rule will be scanned by the Clerk into the CM/ECF System.

Each party must comply with all applicable rules of the Federal Rules of Bankruptcy Procedure. As
provided in said rules, within fourteen days after filing the notice of appeal, Appellant must file the following
with the Clerk of the Bankruptcy Court:

A designation of record
A statement of issues on appeal
A notice regarding the ordering of transcripts

If the Appellee desires to designate further portions of the record, Appellee must file in the Bankruptcy
Court within fourteen days after service of Appellant's designation a supplemental designation of record,
supplemental statement of issues, and/or a notice regarding additional transcripts. Each counsel will include the
designated excerpts of the record and all transcripts previously ordered by said counsel as an appendix to his or
her brief(s).

CV-26 (2/17) NOTICE REGARDING Nei FROM BANKRUPTCY COURT Page 1 of 2
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 98 of 103 Page ID #:975

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Please note that neither party may include or make reference to any excerpts of record other than those
which have been properly and timely designated. The District Court, in the appeal, will review and consider
only those documénrits in the case file that the parties have designated and thereafter reproduced.

Under Fedéral Rule of Bankruptcy Procedure 8010(a), the court reporter/recorder is required to file all
transcripts ordered by either-side within 30 days of the order (with payment tendered in advance) unless an
extension has been granted.

The failure of either party to comply with time requirements as stated in this notice and applicable
rules may result in the dismissal of the appeal or the right to oppose the appeal.

After the designated record is complete, the Clerk of the Bankruptcy Court will transmit to the Clerk of the
District Court either the record for this appeal or notice that the record is available electronically. The Clerk of
the District Court will then issue a Notice Re: Bankruptcy Record Complete, which will constitute notice,
pursuant to Federal Ruie of Bankruptcy Procedure 8010(b)(3), that the record has been received by the District
Court. The date of filing of this Notice Re: Bankruptcy Recard Complete will be the starting date for the
calculation of all deadlines pursuant to Federal Rule of Bankruptcy Procedure 8018, and, if applicable, Federal
Rule of Bankruptcy Procedure 8016. Only the District Court may grant a request for an-extension of the time
for filing briefs as set forth in those Rules. Any such request must be filed well in advance of the duc date and
must specify good cause for the requested extension.

Once briefing is complete, the Courtroom Deputy Clerk of the assigned District Judge will advise parties
of the date for oral argument, unless the District Judge determines that oral argument is not needed.

Clerk, U.S. District Court

December 7. 2018 By _/s/ Geneva Hunt _
Date Deputy Clerk

CC: Bankruptcy Court Judge

CV-26 (2/17) NOTICE REGARDING ae FROM BANKRUPTCY COURT Page 2 of 2
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 99 of 103 Page ID #:976

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

 

 

Case-No. CV 18-10188-AG Date April 1, 2019
Title In Re Steven Mark Rosenberg
PRESENT:

HONORABLE ANDREW J, GUILFORD, UNITED STATES DISTRICT JUDGE

Melissa Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
ORDER

This appeal was filed on December 7, 2018. On March 15, 2019, the Court issued a
minute order which ordered Appellant to show cause in writing on or before March 27, 2019
why this action should not be dismissed for lack of prosecution. Appellant has failed to
respond to the Court's Order. Therefore, the Court ORDERS that this action is dismissed
without prejudice for lack of prosecution and for failure to comply with the Orders of the Court.

The Court further orders the Order to Show Cause [18] issued on March 15, 2019
discharged.

 

Initials of Deputy Clerk =mku

CC: BANKRUPTCY COURT
BAP

 

CV-980 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 100 of 103 Page ID #:977

Case 2:18-cv-10188-AG Document 30 Filed 06/03/19 Page 1of2 Page ID #:112

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA J S - 5

CIVIL MINUTES —- GENERAL
Case No: District Court Case No. 2:18-cv-10188 AG Date + June 3, 2019
U.S. Bankruptcy Case No. 1:17-bk-11748-VK
Adversary Case No.: 1:17-ap-01096-VK

“Title IN RE: STEVEN MARK ROSENBERG

 

 

 

Present The Flonorable) |) ANDREW J. GUILFORD

 

 

Melissa Kunig Not Present
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Proceedings: [IN CHAMBERS] ORDER REGARDING PLAINTIFF’S

“MOTION TO ALTER OR AMEND JUDGMENT” (DKT. 20)

Pro se debtor Steven Mark Rosenberg (‘Plaintiff’) asks the Court to reconsider its April 1,
2019 order dismissing his adversary proceeding against Defendants for lack of prosecution.
(Okt. 20.) The Court GRANTS Rosenberg’s motion to reconsider and EXTENDS his
‘deadline to file an opening brief to Jurie 5, 2019 at 4:00 p:m.

Plaintiff filed a voluntary petition under Chapter 7 of the Bankruptcy Code in June 2017. (Bkr.
Dkt. 1.) He filed a related adversary proceeding against the Defendants in November 2017,
assetting claims for violation of 11 U.S.C. § 524(a), violation of Federal Rule of Bankruptcy
Procedure 3001 (c)(2), fraudulent concealment, violation of 18 U.S.C. § 157, and declaratory
relief. The Court granted Defendants’ Motion for Judgment on the Pleadings and entered an
amended judgment against Rosenberg on June 7, 2018. (App. Dkt. 56.) A few days later,
Plaintiff moved for reconsideration of that judgment, and the Court denied his motion on
November 21, 2018. (App. Dkt. 74.) Plaintiff filed a Notice of Appeal on December 6, 2018.
(App. Dkt. 78.) The Court then issued an order to show cause why the appeal should not be
dismissed as untimely. On February 11, 2019, the Court discharged the OSC, deemed
Plaintiff's appeal to be timely, and ordered Plaintiff to file any opening brief by March 11,
2019.

On March 15, 2019, when no further action had been taken in the case, the Court issued
another OSC regarding dismissal for lack of prosecution. (Dkt. 18.) Plaintiff failed to respond
to the order by the March 27 deadline. The appeal was thus dismissed on April 1, 2019.

CIVIL MINUTES - GENERAL
Page | of 2

 

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Case 2:18-cv-10188-AG Document 30 Filed 06/03/19 Page 2of2 Page ID #:113

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL
Case No. District Court Case No. 2:18-cv-10188 AG Date — June 3, 2019
U.S. Bankruptcy Case No. 1:17-bk-11748-VK |
_ Adversary Case No.: 1:17-ap-01096-VI

y itle IN RE: STEVEN MARK ROSENBERG

 

 

Plaintiff again seeks reconsideration, this time under Fedetal Rules of Civil Procedure 59(c)
and 60(b). Plaintiff states that his delay in responding to the March 15 OSC was caused by a
severe illness beginning in late February 2019 and hospitalization from Match 27 to April 3,
2019. (Rosenberg Declaration {] 3.)

Local Rule 7-18 provides: “A motion for reconsideration of the decision on any motion may
be made only on the grounds of (a) a material difference in fact or law from that presented to
the Coutt before such decision that in the exercise of reasonable diligence could not have
been known to the party moving for reconsideration at the time of such decision, or (b) the
emergence of new material facts or a change of law occutring after the time of such decision,
or (c) a manifest showing of a failure to consider material facts presented to the Coutt before
such decision. No motion for reconsideration shall in any manner repeat any oral or written
atgument made in support of or in opposition to the original motion.”

The Court dismissed Plaintiff's action without prejudice for failure to prosecute without
knowledge of his medical issues. His illness and hospitalization are material differences in fact
from those presented to the Court before dismissal. Defendants Ocwen Loan Servicing, LLC
and Mortgage Electronic Registration Systems, Inc. argue that Plaintiff has missed deadlines
to alter or amend the June 7, 2018 judgment under Federal Rules 59(e) and 600). Dkt. 21.)
Defendant Deutsche Bank National Trust Company similarly notes Plaintiffs non-entitlement
to relief under Federal Rules 59(e) and 60(b). (Dkt. 24.) But the April 1, 2019 order dismissing
the appeal was not a judgment, and pro se Plainuff’s current motion appears to seek
reconsideration of that order tather than alteration of the June 7, 2018 judgment (despite
some confusing labeling issues).

The Court thus exercises its disctetiori to reconsider its order dismissing Plaintiff's appeal for
failute to prosecute and extends Plaintiff's deadline to file an opening brief to June 5, 2019 at
4:00 p.m. The Court is very unlikely to grant any further requests for extensions in this case.

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CIVIL MINUTES - GENERAL
Page 2 of 2

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Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 102 of 103 Page ID #:979

CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2019 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the e-mail addresses denoted on
the attached Electronic Mail Notice List, and I hereby certify that I have
mailed the foregoing document or paper via the United States Postal
Service to the non-CM/ECF participants indicated on the attached
Manual Notice List.

VIA U.S. MATL

Steven Mark Rosenberg
106-1/2 Judge John Aiso St., #225
Los Angeles, CA 90012

I certify under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct. Executed on

August 2, 2019.

/s/Linda C. Lozano

 

Linda C. Lozano

GARRETT & TULLY, P.C.
225 S. Lake Avenue, Ste 1400
Pasadena, CA 91101
Telephone: (626) 577-9500
Facsimile: (626) 577-0813
Email: zlin@garrett-tully.com
Case 2:18-cv-10188-AG Document 42-3 Filed 08/02/19 Page 103 of 103 Page ID #:980

CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2019 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the e-mail addresses denoted on
the attached Electronic Mail Notice List, and I hereby certify that I have
mailed the foregoing document or paper via the United States Postal
Service to the non-CM/ECF participants indicated on the attached
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/s/Linda C. Lozano
Linda C. Lozano

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